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                               Exhibit 2
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                              Video Deposition of Deborah Sines                   1

 1                  IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
 2                           SHERMAN DIVISION
 3

 4
      EDWARD BUTOWSKY,
 5
           Plaintiff,
 6
      -vs-                                        CASE NO.: 4:18-cv-00442-ALM
 7
      DAVID FOKENFLIK, ET AL.,
 8
          Defendants.
 9    __________________________/
10

11               VIDEOTAPED DEPOSITION OF DEBORAH SINES
12

13    DATE:                              March 20, 2020
14
      TIME:                              Commenced:               10:19 a.m.
15                                       Concluded:               1:35 p.m.
16
      LOCATION:                          Southern Reporting Company
17                                       145 City Place
                                         Suite 302
18                                       Palm Coast, Florida 32164
19
      STENOGRAPHICALLY                   Mykel Miller, RPR, FPR
20    REPORTED BY:                       Notary Public - State of Florida
21

22

23

24

25

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                              Video Deposition of Deborah Sines                   2

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           On Behalf of the Defendants
16

17
      ALSO PRESENT:
18    Hunter Matheson, Videographer
19
                                     STIPULATION
20
                 It is hereby stipulated and agreed by and
21    between counsel present at this deposition and by the
      deponent that the witness review of this deposition
22    would be reserved.
23

24    (This transcript is the product of the court reporter
      and should not be reproduced and given free of charge to
25    any party unless under the direction, control and/or
      supervision of the certifying court reporter.)

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 1                                     I N D E X
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14             (Episode 2 - The Russian Connection 7-9-2019)
15    Plaintiff's Exhibit No. 2                                                    11
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16               11:59-14:37)
17    Plaintiff's Exhibit No. 3                             43
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 1                  THE VIDEOGRAPHER:             We are now on the record
 2            for the video deposition of Deborah Sines taken
 3            in the matter of Edward Butowsky versus David
 4            Fokenflik, et al.
 5                  Today is March 20, 2020, and the time is
 6            10:19 a.m.       This deposition is being conducted at
 7            145 City Place, Palm Coast, Florida.                 The court
 8            reporter is Mykel Miller, and the videographer is
 9            Hunter Matheson.
10                  Will counsel please introduce yourselves for
11            the record after which the court reporter will
12            swear in the witness.
13                  MR. CLEVENGER:           Yes.       This is Ty Clevenger
14            for the plaintiff, Edward Butowsky.
15                  MR. HARPER:        This is David Harper for the
16            defendants including National Public Radio, David
17            Fokenflik.       And Ms. Laura Prather is listening in
18            by -- by audio -- by Zoom, I guess, to be
19            precise.
20                                 DEBORAH SINES,
21           having been first duly sworn, was examined and
22                  testified upon her oath as follows:
23                        THE WITNESS:            Yes, I do.
24                             DIRECT EXAMINATION
25    BY MR. CLEVENGER:

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 1           Q.     Good morning, Ms. Sines.                      Could you please
 2    state your full name on the record?
 3           A.     Deborah Lynn Sines.
 4           Q.     And I understand you now reside in Florida;
 5    is that correct?
 6           A.     That's correct.
 7           Q.     And you previously were an assistant U.S.
 8    attorney in Washington, D.C. --
 9           A.     Yes.
10           Q.     -- is that correct?
11           A.     I said "yes."
12           Q.     And I also understand you were -- I'm sorry.
13    Go ahead.
14           A.     I said "yes."
15           Q.     Okay.    And were you assigned as the lead
16    prosecutor on the Seth Rich murder case?
17           A.     Yes.
18           Q.     You produced some documents this morning.                        Is
19    it -- is it correct you have 19 pages of documents
20    total?
21           A.     I didn't count the pages, but you have the
22    same copies I do.
23           Q.     Okay.    I would like to go through those
24    briefly.      Who sent you a copy of the order that you've
25    included in those documents?

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 1           A.     The Department of Justice.
 2           Q.     Who within the Department of Justice?
 3           A.     Dan Van Horn.          Chief of the --
 4           Q.     Okay.
 5           A.     -- Civil Division for the United States
 6    Attorney's Office for Washington, D.C.
 7           Q.     It looks like it's around the 11th page of
 8    the document that I have -- there's -- looks like a
 9    Friday, July 13, 2018, e-mail at the bottom.                      7:07 p.m.
10           A.     No.    That -- that -- I know what you're
11    talking about, but that is a mistake.                       I think the
12    July -- let me find the order.                    Hold on.
13           Q.     Actually this question was not about the
14    order.      This is a different - --
15           A.     Oh, well.
16           Q.     -- different subject.
17           A.     So we're done with the order?                  You asked
18    me --
19           Q.     Yes.
20           A.     -- who sent --
21           Q.     Yes.
22           A.     -- me this, and I told you.                   And you said at
23    the bottom it said July.               You were asking me about the
24    order.      You didn't ask me about anything else.                  Are you
25    asking me about a different document now?

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 1           Q.     Yes.    I'm asking you about this -- do you
 2    know -- actually, do you know if Mr. Van Horn sent that
 3    order by e-mail?
 4           A.     Yes.
 5           Q.     So is that e-mail in here?
 6           A.     No.    The Department of Justice's position is
 7    that they don't represent me personally, but sending me
 8    that order was in their capacity representing me in my
 9    former employment.         I've been given very specific
10    instructions about my contact with my former employer in
11    connection with any case, and I've been instructed not
12    to disseminate anything that they have -- any e-mails
13    between me and them because it's in my capacity as they
14    are representing me as a former assistant U.S. attorney.
15    And I know you have Mr. Van Horn's letter.                  Well, I know
16    you have it.
17           Q.     Yes.
18           A.     And I also --
19           Q.     Right.
20           A.     -- sent it to you.
21           Q.     Right.     So I want to talk about something
22    unrelated to that.
23           A.     All right.
24           Q.     It looks like on the -- about the 11th page
25    of the documents we were sent, there's a Friday,

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 1    July 13th, 2018, e-mail.
 2           A.     Okay.    Just a minute.
 3           Q.     And --
 4           A.     Let me find it.
 5           Q.     Sure.
 6           A.     I've got it.
 7           Q.     Okay.    And it looks like, toward the bottom,
 8    it says -- it says:          Several reporters are trying to
 9    contact me about Seth's case, and I have refused to
10    speak with them because I don't want to harm Seth's
11    investigation.
12                  Is that correct?
13           A.     Yes.
14           Q.     And then it looks like on the last page --
15    page 19 of what we were provided -- there's another
16    e-mail to Andy Kroll with Rolling Stone where it looks
17    like you were refusing to speak about the case; is that
18    correct?
19           A.     No.    I have to look at the Andy Kroll ones.
20    Hold on.
21           Q.     Sure.    Actually, let me -- let me -- I'll
22    read it --
23           A.     No.
24           Q.     -- because I --
25           A.     I think you've got that wrong.

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 1           Q.     Yeah.     You're -- I -- let me reread it
 2    because I think I did get that wrong.                        In the second
 3    paragraph, it says:           Even though I have refused to speak
 4    with -- to other journalists about this case, I'm
 5    thinking about talking to you.
 6                  Is that correct?
 7           A.     Yes.
 8           Q.     And so what changed between the time that you
 9    were refusing to speak to journalists and the time that
10    you spoke to Michael Isikoff?
11           A.     One of the things that changed was that in
12    September of 2018 -- is Mr. Kroll sent me a letter -- a
13    handwritten letter, not typed -- and he said he used to
14    play soccer with Seth Rich.                  So I called Aaron Rich
15    because I had refused to talk to anybody.                       And I called
16    Aaron Rich, who confirmed that Mr. Kroll did indeed play
17    soccer with his brother.                That's what changed.
18           Q.     Okay.     So did you grant an interview to
19    Mr. Kroll?
20           A.     Yes, I did.
21           Q.     And has that -- has that been published yet?
22           A.     No.
23           Q.     Do you know when it's supposed to be
24    published?
25           A.     No.

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 1           Q.     Was it?
 2           A.     No.    I just know I didn't get on the cover of
 3    the Rolling Stone.          That's all I know.
 4           Q.     Okay.
 5           A.     Mr. Kroll has written several articles, a few
 6    about this case, and I've seen those, but that's not --
 7    that's not about me.            That's -- you know, that's about
 8    him reporting on other things.
 9           Q.     Okay.     Did -- did the Department of Justice
10    authorize you to speak to him?
11           A.     No.
12           Q.     Did -- and of course I've mentioned earlier
13    the Michael Isikoff interview, and I'll get into that
14    more in a moment, but did the -- did the Department of
15    Justice authorize you to speak to Michael Isikoff?
16           A.     No.
17           Q.     And when you spoke to Andy Kroll, were you
18    still actively employed at the Department of Justice?
19           A.     I just told you the date when we spoke.
20    You've got the e-mail from April of 2019.                    I haven't
21    been an assistant United States attorney since
22    April 30th, 2018.
23           Q.     Okay.     I want to -- I'm going to go ahead
24    and -- it's a little out of order here, but I'm going to
25    go ahead and introduce two exhibits, actually, that NPR

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 1    has produced.        They're two excerpts of the interview
 2    with -- with Michael Isikoff.
 3                  MR. CLEVENGER:            And I would ask the court
 4             reporter to go ahead and hand you those.
 5                  (Off-the-record discussion.)
 6                  (Plaintiff's Exhibit Nos. 1 and 2 were
 7             marked for identification.)
 8    BY MR. CLEVENGER:
 9           Q.     If you would just review those and see if
10    those appear to be accurate.
11                  MR. HARPER:         And, Ms. Sines -- I would just
12             interject that we do have the audio available, if
13             the witness would -- if she would like to --
14                  THE WITNESS:          It's not necessary.       Thank
15             you.
16                  Okay.     I've finished the first one.
17    BY MR. CLEVENGER:
18           Q.     Does that appear to be an accurate transcript
19    of your interview with Mr. Isikoff on Episode 2?
20           A.     Yes, it does.
21           Q.     And if you could review the next one, please.
22    Episode 5.
23           A.     Got it.      Finished it.
24           Q.     Does that appear to be -- okay.                Does that
25    appear to be an accurate transcript of Episode 5 or your

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 1    portion of it?
 2           A.     Yes, it does.
 3           Q.     Before I ask you about those interviews, I've
 4    overlooked something in the documents that you produced.
 5    I want to go back to that for just a moment.                    It looks
 6    like around the 14th page of what I was provided.                     It
 7    says:     Affidavit of Deborah L. Sines.
 8           A.     Yes.
 9           Q.     Has that affidavit ever been executed, or is
10    that just a --
11           A.     Yes, it has.          I just don't have a copy of it
12    with my signature.
13           Q.     Okay.     And who was that executed for?
14           A.     Aaron Rich's civil suit case.
15           Q.     Okay.     So --
16           A.     At -- with the approval of the Department of
17    Justice.
18           Q.     I see.     Do you know who asked to -- that you
19    provide that affidavit?               Like, which attorney?
20           A.     I think her name is Meryl.
21           Q.     Would it be Meryl Governski?
22           A.     Yes.
23           Q.     Okay.     And so did you have a phone
24    conversation with her?
25           A.     No.    I had an interview with her.

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 1           Q.     Oh, an interview?              Was that -- did she come
 2    interview you in Florida?
 3           A.     Yes.
 4           Q.     And was there any kind of a transcript of
 5    that interview, or was it just the two of you meeting?
 6           A.     There was -- there was another lawyer there
 7    with her, but I don't remember his name.                     There is no
 8    transcript unless someone was secretly recording me, and
 9    I doubt that that happened.
10           Q.     When did you have this meeting with them?
11           A.     Let me check one of these e-mails.                I might
12    be able to figure it out.                 I'm trying to remember, and
13    the e-mails are not helping me.
14           Q.     Do you know whether you ever exchanged
15    e-mails with Ms. Governski or any of her colleagues?
16           A.     Not about the Seth Rich investigation.                 No.
17    I've never exchanged --
18           Q.     What --
19           A.     I've never exchanged any e-mails with her
20    about the Seth Rich investigation.
21           Q.     Have you exchanged e-mails on other subjects?
22           A.     Yes, but not --
23           Q.     What were those other subjects?
24           A.     -- not anything -- in particular, you know,
25    things like, Attached is the affidavit I prepared, or --

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 1    things like that.          Nothing of any substance about any
 2    case.
 3           Q.     So when you say, "Attached is the affidavit I
 4    prepared," was she e-mailing you a draft affidavit or
 5    vice versa?
 6           A.     No.    No.    I -- this is my typing -- any typos
 7    in here are mine.          And --
 8           Q.     Okay.
 9           A.     -- I had to run it by the Department of
10    Justice and have them approve it.                       So -- so there's --
11    there's -- she -- she didn't prepare anything.                      This is
12    my work.
13           Q.     But you're saying that after you drafted this
14    affidavit, you e-mailed it to Ms. Governski?
15           A.     After the department approved the affidavit,
16    then --
17           Q.     Okay.
18           A.     -- I -- I believe I e-mailed her a copy.                   I
19    don't know.       I don't have e-mails between her and me,
20    but I know I sent her a signed copy as I did the
21    Department of Justice.              I -- you're asking me -- I don't
22    remember whether this was 2019 -- I think it's 2019.
23    No.    It could be this year.                I -- no, it can't be this
24    year.     Sorry.     We're in March.               It had to be last year.
25           Q.     Well, the reason I ask is you -- you just

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 1    testified that you have exchanged some e-mails with Ms.
 2    Governski, and you said it was not about Seth Rich, but
 3    now you're saying that you sent her this affidavit which
 4    clearly is about Seth Rich --
 5           A.     Which is why I produced it.                      If -- if the
 6    affidavit -- the -- the e-mail she sent me or that I
 7    sent her was for Aaron Rich as a plaintiff in his civil
 8    suit.     That's not about Seth Rich.                        That's about Aaron
 9    Rich.     However, the affidavit I prepared is about Seth
10    Rich, which is why I've produced it to you.
11           Q.     Are you willing to produce the e-mail that
12    you sent to Ms. Governski?
13           A.     The e-mail that she sent to who?                      That I
14    sent?     No.    No.    No.     I don't think that's at all
15    responsive, but I have given you what's responsive about
16    Seth Rich.
17           Q.     Well, isn't it true that Aaron Rich's lawsuit
18    is premised largely on things concerning his brother
19    Seth Rich?
20           A.     I -- I -- I can't say that that's what it's
21    about.      I think it's about the treatment he and his
22    family have received from others.
23           Q.     So -- well, forgive me, Ms. Sines, but are
24    you -- are you trying to split hairs here deciding what
25    you will and will not produce?

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 1           A.     No, sir.      I'm not splitting -- I'm not
 2    splitting any hairs.            I -- I feel I've produced
 3    everything responsive to your subpoena.
 4           Q.     What other e-mail subjects have you
 5    communicated with Ms. Governski or any of her colleagues
 6    about?
 7           A.     I don't think I've sent any e-mails to any of
 8    her colleagues.         I believe just when she was arriving to
 9    interview me.
10           Q.     So did she e-mail you to set up the
11    interview?
12           A.     She called me to set up the interview, and
13    then I believe -- I don't even think I still have this
14    e-mail.      She e-mailed me with dates, I believe.
15           Q.     Okay.     And so it's your testimony that those
16    would be the only e-mails you've exchanged with Ms.
17    Governski?
18           A.     Yes.
19           Q.     But you're not willing to produce any of
20    those e-mails; is that correct?
21           A.     I -- I don't even know that I have them,
22    Mr. Clevenger.
23           Q.     Well, did you look?
24           A.     No.
25           Q.     Well, if you -- or if you know that you

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 1    e-mailed this affidavit to Ms. Governski, did you have
 2    to pull that up from an e-mail attachment, or did you
 3    get it from somewhere else?
 4           A.     No.    I had a -- I -- I had a copy of the
 5    affidavit I typed up on my computer, and I printed out
 6    the affidavit, but I just didn't have a copy with the
 7    signature.
 8           Q.     So I have what was -- what was discussed with
 9    your interview with Ms. Governski?
10           A.     Everything that's in that affidavit.                      It was
11    basically a lot of questions about how cooperative her
12    client was during my investigation.                          Some of the
13    questions I could not answer because the department, who
14    arranged for the interview, instructed me I couldn't
15    talk to them about certain things.                           For example, if
16    someone testifies before the grand jury, even if they
17    have told other people they testified before the grand
18    jury, I am not allowed to confirm that.                          If someone has
19    produced documents before the grand jury or otherwise, I
20    am not allowed to talk about that.                           And -- and that's
21    after consulting with the Department of Justice.
22           Q.     You said that the Department of Justice
23    arranged the interview.               Do you know specifically who at
24    the Department of Justice was arranging that?
25           A.     I believe what happened was there -- there

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 1    was a subpoena for a deposition, and Dan Van Horn said,
 2    No.    You -- she can't do that, and I believe the two of
 3    them -- I don't know; I wasn't there -- negotiated, How
 4    about if she does an affidavit instead?
 5           Q.     So did Mr. Van Horn or anyone else at DOJ
 6    know that Ms. Governski would be flying down to Florida
 7    to interview you --
 8           A.     Yes.
 9           Q.     -- about this?
10           A.     Yes.
11           Q.     They did?       That's --
12           A.     Yes.
13           Q.     That's a "yes"?             Okay.
14                  Who was the other attorney?                    Was it -- do you
15    know if it was Michael Gottlieb that came with her or --
16           A.     Describe him.
17           Q.     I have not seen him in person; I've just seen
18    a photo.      Dark hair, very short.
19           A.     Looks young?
20           Q.     Yes.
21           A.     I don't remember him being short.                   Brown hair
22    maybe.
23           Q.     I don't know if he's tall or short.                   I've
24    never seen him.         I don't know his height.
25           A.     Oh.

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 1           Q.     His hair was short.
 2           A.     Oh, that -- that sounds like him.
 3           Q.     Okay.
 4           A.     I don't remember.              Don't tell him I forgot
 5    his name.
 6           Q.     Did you discuss any matters beyond what's in
 7    the affidavit?
 8           A.     I'm certain I told her how bad I felt for her
 9    client, and I probably told her how bad I felt for Seth
10    Rich's parents.
11           Q.     Did you discuss any other details about the
12    case?
13           A.     No.    I don't think so.
14           Q.     So you're not certain?
15           A.     I -- I don't think so.
16           Q.     Did you ever exchange any drafts of your
17    affidavit before it was finalized?
18           A.     Only with the Department of Justice.
19           Q.     Okay.     I want to move -- we were talking
20    earlier about some transcripts that are Exhibits 1 and
21    2.
22           A.     Are we done with the affidavit?
23           Q.     Yes.
24           A.     So we're back with Exhibits 1 and 2?
25           Q.     Correct.

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 1           A.     Okay.
 2           Q.     In the third paragraph, quoting Mr. Isikoff,
 3    it says:      Sines decided to use her security clearance to
 4    ask U.S. --
 5           A.     Are you on Exhibit 1 or Exhibit 2?
 6           Q.     Exhibit 1.        Do you have that?
 7           A.     I don't see where it says that.
 8           Q.     Yeah.     Exhibit 1 is Episode 2.              "The Russian
 9    Connection" at the top.
10           A.     Yes.
11           Q.     You go down to the third paragraph.                Mr. --
12    Mr. Isikoff, last sentence of that paragraph.
13           A.     Yes, I see it now.
14           Q.     Okay.     It says:          Sines decided to use her
15    security clearance to ask the U.S. intelligence
16    community to help her figure the puzzle out.
17                  Is that correct?
18           A.     That's what it says.
19           Q.     Is that what you had told him?
20           A.     Yes.
21           Q.     Was that true?
22           A.     I have been instructed by the Department of
23    Justice that they have not authorized me to make any
24    statements in violation of the law enforcement privilege
25    and case investigatory steps I took while I was an

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 1    assistant U.S. attorney.
 2           Q.     So you're telling us, Ms. Sines, that you
 3    were able -- or willing to talk with a reporter about
 4    this, but you won't talk about it today; is that
 5    correct?
 6           A.     I'm telling you I was wrong to talk to a
 7    reporter about that, and I did not have the authority --
 8    permission from the Department of Justice to do that.
 9    And I'm telling you the Department of Justice has
10    instructed me not to talk about that, and, in fact,
11    that's in the letter they sent you.
12           Q.     Have you been threatened with prosecution if
13    you talk about these things?
14           A.     No.    I haven't been threatened at all by the
15    Department of Justice.
16           Q.     Have they indicated there might be any
17    repercussions at all if you talk about these things?
18           A.     No.    Why do you think they're not here, sir?
19           Q.     I have no idea, Ms. Sines.
20           A.     Well, let me --
21           Q.     I'm asking questions.
22           A.     Let me posit it to you that they have
23    explained all of the reasons and the law about what I am
24    allowed to talk about and what I'm not allowed to talk
25    about.      I should have gotten permission from them.                  I

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 1    didn't, and now I see why I shouldn't have said that.
 2    They're right.        I was wrong.             I am allowed --
 3           Q.     Let me ask you this question.
 4           A.     -- to tell you if I said it.                      I'm not allowed
 5    to talk about those things at all.                           And as you know --
 6           Q.     So you're -- go ahead.
 7           A.     As you know, in their letter to you, I'm not
 8    allowed to testify about things I did while I was on the
 9    job.
10           Q.     Well, I want to ask you specifically about
11    your communications with Mr. Isikoff during the
12    interviews.       Did you -- did you say anything to him that
13    you now know to be false?
14           A.     I don't think so.
15           Q.     So to the best of your knowledge the things
16    that you said to Mr. Isikoff were true; is that correct?
17           A.     Yes.
18           Q.     Can you say which U.S. intelligence agencies
19    you spoke with?
20           A.     No.    And you know why.
21           Q.     Ms. Sines, there's no need to make this
22    unduly adversarial.           I'm --
23           A.     I'm not trying to.
24           Q.     -- trying to ask questions.
25           A.     I just told you the parameters of what I'm

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 1    allowed to say, and, no, I'm not allowed to tell you who
 2    I talked to either in the Intelligence community or the
 3    law enforcement community or both.
 4           Q.     Okay.     The next -- or a couple paragraphs
 5    down, there's a -- there is a statement by Mr. Isikoff
 6    about -- starts with a discussion about the website
 7    whatdoesitmean.com.           And later in that paragraph it
 8    says:     What Sines discovered was a fake bulletin
 9    circulated by the Russian SVR, the Kremlin's version of
10    the CIA, that was intercepted by U.S. intelligence
11    agencies.
12                  Did you tell -- did you say that to Mr.
13    Isikoff?
14           A.     Yes.
15           Q.     And to the best of your knowledge, was that a
16    truthful statement to Mr. Isikoff?
17           A.     Yes.
18           Q.     Do you -- do you know -- well, can you say
19    who intercepted this bulletin?
20           A.     No.
21           Q.     Can you say who told you that it was fake?
22           A.     No.
23           Q.     If you go farther down the page, at the
24    bottom Isikoff says:            In short, Sines had uncovered the
25    original document that started all of the Seth Rich

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 1    conspiracy theories.
 2                  Did you tell Mr. Isikoff that?
 3           A.     No.    I think that's him surmising that one
 4    original document started all the conspiracy theories, I
 5    think.      That's his call on that.                   That's not what I
 6    said.
 7           Q.     Okay.     On the next page, on the third
 8    paragraph down, it says -- it's quoting you:
 9    Absolutely.       No question in my mind.                    They planted this
10    whole conspiracy thing.
11                  That's talking about the Russians.                    Is that
12    an accurate statement on your part?
13           A.     Yes, sir.
14           Q.     Did you have any personal knowledge, or were
15    you relying on what other people told you to say that?
16           A.     I was relying on my investigation, but I --
17    I'm not permitted to say more than that.
18           Q.     So does the paragraph -- the next paragraph,
19    you're quoted saying:             It was the same nonsense.              The
20    same stuff.       Once it became clear to me that this is
21    coming from the SVR, then -- I mean, that triggers a lot
22    of very serious, Oh, my God, what do I do with this?
23                  Can you say what you were relying on to say
24    it came from the SVR?
25           A.     My investigation.

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 1           Q.     Are you an intelligence analyst?
 2           A.     No, I am not.
 3           Q.     Have you ever worked in the intelligence
 4    field?
 5           A.     No.
 6           Q.     Do you speak Russian?
 7           A.     No.
 8           Q.     So then is it safe to say that you were
 9    relying on what other people told you?
10           A.     No.
11           Q.     What else were you relying on then?
12           A.     Things I found on the Internet.                Things I
13    found elsewhere.
14           Q.     Like, what kind of -- like, what kind of
15    things?
16           A.     Well, we're talking about what I was doing
17    during my investigation, and the Department of Justice
18    has not given me permission to answer that any further.
19    I'm sorry.
20           Q.     Well, if we're talking about things on the
21    Internet, those are public documents; correct?
22           A.     Not if it shows a law enforcement technique
23    as it does here in my investigation.
24           Q.     And so did you personally go out and find
25    these things on the Internet?

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 1           A.     Yes.
 2           Q.     And even though you're not an analyst and you
 3    don't speak Russian, it's your testimony that you have
 4    sufficient expertise to know that this came from the
 5    SVR?
 6           A.     To know some of this came from the SVR, but,
 7    again, as you point out, I'm not an expert.
 8           Q.     Well -- but you're saying with some certainty
 9    that it came from the SVR, and you're saying that you
10    relied on things that you personally found on the
11    Internet; is that correct?
12           A.     Yes.    And elsewhere.
13           Q.     Okay.     But does -- in terms of the things you
14    found on the Internet, you think that's sufficient to
15    say, based on your background and knowledge, that this
16    came from the SVR?
17           A.     Some of this came from the SVR, yes.                I
18    believe that completely.
19           Q.     I understand that you believe that, but
20    that's not my question.               My question was, based on this
21    Internet research that you did, do you believe you have
22    sufficient background and knowledge to say that this was
23    proof that it came from the SVR?
24           A.     Counselor, although I'm not expert, I'm a
25    high school graduate.             I think I'm bright enough to

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 1    comprehend what I read.               If -- if it's in Russian, I can
 2    certainly have it translated.                    If it's -- if I don't
 3    understand it, I certainly have -- used to have enough
 4    people to help me and explain it to me, but as you point
 5    out, I'm no expert.           Could I be wrong?              It's possible.
 6    Was I wrong in this case?                 I don't think so.
 7           Q.     Do you know what a false flag operation is?
 8           A.     No, I do not.
 9           Q.     Well, are you familiar with or do you
10    comprehend the idea of one group or one nation trying to
11    make -- make it look as if another group or another
12    nation was responsible for something?
13           A.     Sure.     It's been all over the news for the
14    last couple of years.
15           Q.     Okay.     Well, if we could accept that for the
16    time being as the definition of a false flag operation,
17    is it possible that what you were relying on, in terms
18    of your Internet research or any other information,
19    could be comprised as a false flag operation?
20           A.     Of course, if I limited myself and believed
21    everything I read.          I found so many false things there
22    that it was pretty easy to -- it was very easy to
23    understand how much of it was false.
24           Q.     I'm not sure I follow.                   What are we talking
25    about that's false?

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 1           A.     If Country A blames Country B for a virus --
 2           Q.     Uh-huh.
 3           A.     -- and the virus actually started in Country
 4    A, eventually any idiot can figure out where the virus
 5    started.      I mean, that --
 6           Q.     Okay.
 7           A.     -- that's easy to understand.                  If someone
 8    wants to blame Seth Rich's murder --
 9                  MR. CLEVENGER:            You guys, I'm sorry.
10             There's a little bit of background noise.                   I
11             can't hear you too well.
12    BY MR. CLEVENGER:
13           Q.     Go ahead.       I'm sorry.
14           A.     It's okay.        It sounds like that was coming
15    from your -- your side.
16           Q.     No.    It's quiet where I am.
17           A.     Okay.     If someone wants to -- if someone
18    accuses Seth Rich of being murdered by a professional
19    hit team, it's pretty easy to figure out whether that's
20    accurate or not.         It -- it's -- it's not rocket science.
21    Now, if someone wants to set up the Russians to take the
22    fall when it's not the Russians at all, I'm certain that
23    can happen too.         In fact, Russia often claims that --
24    oh, let's say somebody's killed with uranium or some
25    other kind of poison, Russia often claims they had

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 1    nothing to do with it, and it's a -- they're just being
 2    used as a scapegoat, and they're being set up.
 3           Q.     Would you agree with me, Ms. Sines, that
 4    your -- you don't really have the background or the
 5    expertise to -- to determine whether something is a
 6    false flag operation or whether it came from a foreign
 7    source or didn't come from a foreign source?
 8           A.     If you don't research it, you won't know what
 9    you're doing.        I agree with that.
10           Q.     Well, that's not really my question.                   My
11    question was:        Do you have the background and the
12    knowledge, personally, to determine whether something is
13    a false flag operation and whether it did or didn't come
14    from a foreign source?
15           A.     No, I don't.
16           Q.     Back to the Exhibit 1.                   There's a line
17    through the middle of the second page, and beneath that
18    it quotes Mr. Isikoff:              After Deborah Sines got her
19    hands on these -- on those SVR bulletins and, over time,
20    saw how Russian propaganda was exploiting her case, she
21    wrote a memo that she sent to the National Security
22    Division of the Justice Department.
23                  Did you say that to Mr. Isikoff?
24           A.     I told him that I sent a memo to the National
25    Security Division of the Justice Department.

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 1           Q.     And was that a truthful statement to him?
 2           A.     Yes.
 3           Q.     And -- and was he allowed to see that memo?
 4           A.     No.
 5           Q.     And the next sentence says:                    And she later
 6    briefed the prosecutor's agents worked -- working for
 7    Special Counsel Robert Mueller.
 8                  Is that correct?
 9           A.     I said that.
10           Q.     And was that a truthful statement to Mr.
11    Isikoff?
12           A.     Yes.
13           Q.     Do you know approximately when that meeting
14    would have occurred?
15           A.     Either the same month I retired or the month
16    before.      I retired April 30th, 2018.
17           Q.     Okay.     How about the memo?                  Approximately
18    when was that sent?
19           A.     Maybe 2017.         Maybe.
20           Q.     Okay.
21           A.     Yeah.     I think 2000- -- I think 2017.
22           Q.     Do you know or can you say who you spoke with
23    from Mr. Mueller's office?
24           A.     I don't remember his name, but I'm not
25    allowed to tell you anyway.

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 1           Q.     Can you say whether he was a prosecutor
 2    versus an FBI agent?
 3           A.     There was an FBI agent and a prosecutor
 4    present.
 5           Q.     Okay.     Let's go ahead and turn to Exhibit 2.
 6           A.     Do I get a copy of these exhibits?
 7           Q.     I can certainly send you -- send them to you.
 8           A.     I'd rather do this through the court
 9    reporter.
10           Q.     That's fine.
11                  THE WITNESS:          Is that okay with you?
12                  THE COURT REPORTER:                Of course.
13                  THE WITNESS:          Okay.        Exhibit 2, sir.
14    BY MR. CLEVENGER:
15           Q.     Yes.    On the first page -- looks like the
16    one, two, three, four -- fifth paragraph, Mr. Isikoff
17    says:     You may recall from earlier episodes that Sines
18    discovered that Russian intelligence agents had planted
19    a wild conspiracy story about Seth Rich's murder just
20    three days after his death.                  Now she was seeing the
21    conspiracy claims being amplified by some of the loudest
22    voices in conservative media.
23                  Did -- did you make that statement to Mr.
24    Isikoff?
25           A.     I don't think I called it the "conservative

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 1    media."      I think I told him that I saw -- what your
 2    client said on CNN, which I don't know if CNN is
 3    conservative or not.            I saw Rod Wheeler making
 4    allegations.        I saw Matt Couch making allegations.                   So I
 5    don't know if I said the "loudest voices in the
 6    conservative media."            I think those might be his words.
 7           Q.     Okay.     Going down the page a couple more
 8    paragraphs, Mr. Isikoff says:                    The specifics in the
 9    story -- the story was that there was an FBI report
10    about an FBI analysis of Seth Rich's computer, but he --
11    showed he was in communication with WikiLeaks.                       Was
12    there any truth to that?
13                  And then you said, No.                   None.   Complete
14    fabrication.
15                  Is that correct?
16           A.     That's what I said.
17           Q.     And do you stand by that statement as being
18    truthful?
19           A.     I do.
20           Q.     So who told you that there had been no
21    investigation, or how do you know?
22           A.     I'm -- I'm -- who told me that there had been
23    no investigation?
24           Q.     That the FBI had not looked into this?
25           A.     I -- I don't think I said they had not looked

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 1    into this.
 2           Q.     Okay.     So you were just disavowing the part
 3    where the -- where the analyst said he was showed to --
 4    he was in communication with WikiLeaks?                      Is that what
 5    you're disavowing?
 6           A.     Yes.
 7           Q.     Okay.     But you don't know whether -- you're
 8    not saying that the FBI did not conduct an analysis of
 9    his computer; is that correct?
10           A.     That's correct.
11           Q.     So based on what you have here, is it -- is
12    it -- so you are, in fact, saying that there was at
13    least some investigation of his computer by the FBI;
14    correct?
15           A.     Not in -- how do I put this?                   I -- this is
16    one of the things I've been instructed I'm not allowed
17    to answer.       And I'm trying to find a way -- let me check
18    my affidavit.        If it's in the affidavit, maybe the
19    Department would -- hold on.
20           Q.     I think there is some reference to the FBI in
21    the affidavit.
22           A.     Wow.    It looks like -- well, I think
23    paragraphs 12 and 13 answer that.                       It's just that I did
24    not have permission to tell Michael Isikoff or anyone
25    else who examined Seth Rich's computers.

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 1           Q.     Okay.     But based on your affidavit, you can
 2    now say that the FBI examined his computers; is that
 3    correct?
 4           A.     Just a minute.            No.      I'm allowed to say I'm
 5    aware of no evidence of any contact between Seth or
 6    Aaron Rich and WikiLeaks.                 And I'm aware of no evidence
 7    that Seth Rich ever improperly downloaded information
 8    from the DNC or that he provided such information or any
 9    other information to WikiLeaks.                      And that I'm aware of
10    no evidence that Aaron Rich was involved in the
11    transmission of stolen information from the DNC to
12    WikiLeaks.       And I'm aware of no evidence that Aaron Rich
13    ever received any compensation from WikiLeaks.                     And I'm
14    also allowed to say I consulted with several different
15    law enforcement agencies as well as the FBI, but I'm not
16    allowed to say that the FBI or anybody else looked at
17    Seth's computers.
18           Q.     Were any of your communications with the FBI
19    an e-mail or other written form?
20           A.     I'm sure it was.
21           Q.     Okay.     And so is it -- so then basically
22    there would have been some kind of e-mail communications
23    about the Seth Rich -- Seth Rich case with the FBI; is
24    that what you're saying?                I'm not asking you for the
25    contents, just that there would be --

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 1           A.     Yes.
 2           Q.     -- e-mail communication?
 3           A.     Yes.    I don't have those.                    I don't work there
 4    anymore.
 5           Q.     Right.     But would that be the normal course
 6    of the way things were done?
 7           A.     Yes.
 8           Q.     Okay.
 9           A.     There would be very -- there would be very
10    little between the -- oh, who are they called -- FBI
11    with the Special Counsel's Office.
12           Q.     Okay.     Do you know did -- did -- would there
13    be any written communications with the FBI's CART or
14    commune- -- what is it?               Computer Analysis and Response
15    Team?
16           A.     No, there isn't.
17           Q.     Did you have any kind of written
18    correspondence with -- with FBI personnel other than
19    those assigned to Robert Mueller?
20           A.     Yes.
21           Q.     So -- and I'm just trying to nail this down
22    and make sure I understand you correctly.                         The only FBI
23    personnel you communicated with regarding Seth Rich
24    would be those assigned to a Mueller investigation; is
25    that correct?

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 1           A.     No.
 2           Q.     Okay.     Tell -- tell me how I got it wrong?
 3           A.     I've spoken with another FBI agent about Seth
 4    Rich.
 5           Q.     Would that be someone in the Washington Field
 6    Office?
 7           A.     No.    And I'm not allowed to speak to you
 8    about this.       This is part of the investigation.                   And as
 9    you know, that's still an open case.
10           Q.     Okay.     Well, would there be any written
11    communication e-mails, for example, with that agent?
12           A.     Yes.
13           Q.     So is it fair to say that the FBI had at
14    least some participation in this case?
15           A.     I'm not -- I'm not permitted to answer
16    that -- answer that.            Obviously, I said they did when I
17    spoke with Mr. Isikoff, and I said it in my affidavit.
18           Q.     Okay.     Towards the bottom of the first page
19    of Exhibit 2 --
20           A.     Yes.
21           Q.     -- it quotes you as saying:                    There's no -- no
22    connection between Seth and WikiLeaks.                       And there was no
23    evidence on his work computer of him downloading and
24    disseminating things from the DNC.
25                  And it -- can you say whether or not his work

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 1    computer was examined by the FBI?
 2           A.     I'm not supposed to answer that.
 3           Q.     Can you say, though, that his work computer
 4    was examined by law enforcement?
 5           A.     I'm not supposed to answer that.
 6           Q.     As far as you know, the statement that you
 7    made here in -- is that true and accurate?
 8           A.     Yes.
 9           Q.     Do you know whether other computers -- for
10    example, personal computers of his were examined?
11           A.     Yes.
12           Q.     And let's go to the next paragraph on the
13    first page.       Isikoff is quoted -- it's in the bottom
14    paragraph -- as it turned out, there was one sliver of
15    truth in the Fox story.               The FBI had been examining
16    Seth's computer.
17                  Did you tell Mr. Isikoff that?
18           A.     I -- I -- I -- I guess I did.                  How else would
19    he know it?
20           Q.     Okay.     And as far as you know to this day,
21    were your statements to Mr. Isikoff in that regard
22    truthful?
23           A.     Yes.
24           Q.     Do you know what part of the FBI -- for
25    example, we mentioned CART earlier -- do you know what

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 1    part of the FBI would have examined his computer?
 2           A.     Yes.
 3           Q.     And can you say whether that was the CART
 4    division --
 5           A.     I already told you no.
 6           Q.     -- the CART team?
 7           A.     No.    I will tell you this, Counsel, there was
 8    a separate investigation not involving Seth Rich or
 9    Aaron Rich, and I don't know if that investigation is
10    still pending.        I don't know.              I -- I know there was a
11    suspect subject.         I have no idea what happened to that
12    investigation.        I can tell you that.
13           Q.     Okay.     I want to read then -- on the next
14    page, it quotes you as saying:                     There were allegations
15    that someone, maybe more than one person, was trying to
16    invade Seth's Gmail account and set up a separate
17    account after Seth was murdered.                       And the FBI was
18    looking into that.          I presumed they were trying to
19    create a fake Gmail account and get into Seth's Gmail
20    account so they can dump false information there.
21                  Would that be the investigation that you're
22    referring to?
23           A.     That would be something I did not have the
24    authority to say from the Department of Justice.
25           Q.     Okay.

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 1           A.     But I said it --
 2           Q.     But --
 3           A.     -- and it was the truth.
 4           Q.     Okay.     And the part about creating a fake
 5    Gmail account or dumping information in his account,
 6    that was just a presumption on your part?
 7           A.     No.    No.    Wasn't at all.
 8           Q.     Well, if I may read the last sentence again:
 9    Because I presumed that they were trying to create a
10    fake Gmail account or get into Seth's Gmail account.
11           A.     They were.        I shouldn't have said "I
12    presume."
13           Q.     Okay.     So somebody was trying to get into
14    these accounts after his death?
15           A.     Yes.
16           Q.     Do you know whether -- or did -- Aaron Rich
17    might still have been accessing that account?
18           A.     I don't -- I don't know what Aaron was doing
19    then.
20           Q.     If we were to provide evidence that Aaron, in
21    fact, was logging into his brother's accounts and
22    altering data after Seth's death, would that be relevant
23    to your murder investigation?
24           A.     Not to my murder investigation.
25           Q.     You don't think if -- if Aaron Rich, the

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 1    brother, is postmortem tampering with Seth's electronic
 2    devices, you don't think that's relevant?
 3           A.     I think it's relevant, but not to my murder
 4    investigation.        For example, if someone is trying to
 5    hack into his dead brother's account and he figures that
 6    out and reports it, that -- that doesn't harm my murder
 7    investigation at all.
 8           Q.     What if he's the one doing the hacking and
 9    the tampering?
10           A.     Oh, I'm sure -- I'm sure the experts would be
11    able to figure that out.
12           Q.     But my -- my question is if he's the one
13    doing the hacking and the tampering, would that then be
14    relevant to the murder investigation?
15           A.     No.
16           Q.     So, generally speaking, on a murder
17    investigation -- and since you've done a lot of those,
18    if somebody is tampering with evidence after the fact,
19    that's generally considered to be relevant to the murder
20    investigation, is it not?
21           A.     If -- if somebody is tampering with cartridge
22    casings, somebody is tampering with video evidence,
23    somebody is altering the body, the murder scene, moving
24    the body, falsely blaming the murder on somebody else,
25    very important.         If somebody's hacking somebody's

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 1    account to take all their money after they're dead, very
 2    important.
 3           Q.     Okay.     So if some -- so if somebody is
 4    hacking that account to alter data or metadata, that
 5    would be relevant too, would it not?
 6           A.     Sometimes.        Sometimes when you lose a loved
 7    one, it could be you don't want anybody else to see the
 8    porn on their computer.               You don't want anybody else to
 9    see embarrassing things about your loved one.                    There's a
10    lot of reasons people can do that.
11           Q.     Correct.      But if -- nonetheless, it's
12    relevant to the murder investigation, is it not?                     You
13    want to find out why they were doing that?
14           A.     Mr. Clevenger, it wasn't relevant --
15           Q.     Yes.
16           A.     -- to my murder investigation.
17           Q.     Well, that's -- that's what I'm trying to --
18    to hone in on here.           It seems like your kind of, a
19    priori, excluding evidence that doesn't fit your theory.
20           A.     Well, I don't think you've ever invested a
21    homicide in your life.              I'm just guessing; am I right?
22           Q.     Not entirely, I'm an ex-cop.
23           A.     Right.     I don't think --
24           Q.     Going -- okay.
25           A.     -- you've ever prosecuted a homicide

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 1    investigation.        I don't think you've ever done --
 2           Q.     I have not prosecuted anyone --
 3           A.     -- prosecution to a grand jury.
 4           Q.     -- and I don't think some of that's relevant.
 5    We're here for a deposition, Ms. Sines, and I'm here to
 6    ask you questions.          Okay?
 7           A.     And I'm here to try to get you --
 8           Q.     Let's try --
 9           A.     -- under- -- to understand Aaron Rich was
10    nothing but cooperative.                For you to posit that you have
11    some evidence that he has manipulated evidence, I would
12    ask you -- I would beg you to make that report to the
13    current assistant U.S. attorney who's investigating
14    Seth's murder.
15           Q.     And, again --
16           A.     I've seen --
17           Q.     -- I can tell you that --
18           A.     I've seen none of that.
19           Q.     -- that will be happening in the near future.
20           A.     Okay.
21           Q.     There was a public -- there was a publically
22    filed court document this week from one of Mr. --
23    other -- Mr. Butowsky's other attorneys testified in a
24    declaration that certain e-mail addresses and other
25    electronic information were not provided or withheld.

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 1    And we don't -- and -- and this -- I'm just giving you
 2    this background information.                   We don't think you were
 3    provided with this information either, but anyway --
 4           A.     So e-mail --
 5           Q.     -- let me get back to --
 6           A.     -- addresses were withheld from whom?
 7           Q.     From -- from the discovery in the civil case.
 8           A.     Oh, I don't know anything about that.
 9           Q.     Okay.     Okay.       I want to ask you to look at an
10    exhibit I had -- I had initially marked as Exhibit 3,
11    but we can mark it -- I guess we can still mark it as
12    Exhibit 3.       It's a press release from the U.S.
13    Department of Justice Office of the Inspector General.
14                  THE COURT REPORTER:                Would that be it?
15                  THE WITNESS:          I don't know.            Let me see.
16             Yeah, that's it.           Thank you.
17                  (Plaintiff's Exhibit No. 3 was marked for
18             identification.)
19                  THE WITNESS:          I've read it.
20    BY MR. CLEVENGER:
21           Q.     Have you seen that document before?
22           A.     Never.
23           Q.     Do you know whether it -- it's referring to
24    you?
25           A.     I don't believe it is.                   I think I would

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 1    know --
 2           Q.     Were you ever --
 3           A.     -- if I was a target or a subject.                     That's
 4    not me.
 5           Q.     Were you ever investigated -- I'm sorry.
 6           A.     I -- I --
 7           Q.     Were you ever investigated --
 8           A.     -- I've never disclosed grand jury materials.
 9           Q.     Okay.     So the information that you disclosed
10    to Isikoff, none -- none of that came from a grand jury?
11           A.     No.    That was law enforcement-privileged
12    investigatory techniques.
13           Q.     Okay.     But -- but -- but none of the
14    information ultimately came from a grand jury?                        Is that
15    what you're saying?
16           A.     Of course.
17           Q.     The information that you --
18           A.     Of course.
19           Q.     -- proposed to Mr. Isikoff?                    Okay.
20                  So it only came from non-grand jury
21    sources --
22           A.     Yes.
23           Q.     -- is that correct?
24           A.     Yes.
25           Q.     Okay.     Did anyone ask or encourage you to

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 1    speak to Michael Isikoff?
 2           A.     Yes.
 3           Q.     And who was that?
 4           A.     Glenn Kirschner.
 5           Q.     And who is Glenn Kirschner?
 6           A.     He used to be the chief of homicide at the
 7    U.S. Attorney's Office in D.C.                     He's retired now.        He's
 8    a big shot on MSNBC now.
 9           Q.     And so was he retired himself at the time he
10    encouraged you to talk with Isikoff?
11           A.     Yes.
12           Q.     Was he still actively working for the U.S.
13    Attorney's Office during the Seth Rich investigation?
14           A.     Yes.
15           Q.     Okay.     So describe to me how this works?                    How
16    do you -- how do you spell his name?                          Glenn -- and then
17    how do you spell the last name?
18           A.     G-l-e-n-n K-i-r-s-c-h-n-e-r.
19           Q.     And you said he's a commentator on the MSNBC?
20           A.     Yes.
21           Q.     So how did that go down?                       Did he just call
22    you out of the blue?
23           A.     Yes.    No.     We -- we talk often.                 We're
24    friends.      We've tried many murders together.                      Done many
25    investigations together.

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 1           Q.     Okay.     And had Isikoff contacted him?
 2           A.     Yeah.     Yes.      That's how -- that's how he got
 3    to me.
 4           Q.     Okay.     So, basically, Mr. Kirschner kind of
 5    brokered this meeting between you and Mr. Isikoff?
 6           A.     Yes.    Not meeting.             I've never met Mr.
 7    Isikoff.
 8           Q.     I guess the phone interview?
 9           A.     Right.
10           Q.     He brokered that?
11           A.     Right.
12           Q.     Okay.     But he was retired from DOJ at the
13    time he did it; correct?
14           A.     Yes.
15           Q.     Other than the reporter for Rolling Stone,
16    have you spoken with any other journalist?
17           A.     Yes.    But not about this case.
18           Q.     Okay.     Have you spoken about other
19    journalists about anything pertaining to Seth Rich?
20           A.     No.
21           Q.     And the interview that you granted to the
22    Rolling Stone, approximately when was that?
23           A.     2019.     But -- maybe September, maybe.
24           Q.     Do you recall whether you said anything to
25    the Rolling Stone that you had not mentioned to Mr.

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 1    Isikoff?
 2           A.     I think -- I think we talked very briefly.
 3           Q.     I'm sorry.        You kind of broke up.            Go ahead.
 4           A.     No.    I stopped speaking to think.                I think
 5    with Mr. Kroll -- I definitely told him -- we definitely
 6    talked about false Internet conspiracy theories, and we
 7    definitely talked about the Russians, but nothing in
 8    detail.
 9           Q.     Okay.     Did you talk about anything pertaining
10    to the murder investigation?
11           A.     I'd say mostly we talked about Seth, what he
12    was like, because I never knew him, and Seth's parents
13    and Seth's brother.           That's -- that's what I recall
14    speaking with Mr. Kroll about.                     I have also spoken to
15    him about other things not related to Seth Rich, Aaron
16    Rich, Mary Ann Rich, none of the Riches.
17           Q.     Okay.     I'm going to back up and ask a
18    question about Mr. Kirschner.                    Was he the person who
19    assigned you to the Seth Rich case?
20           A.     No.    He wasn't chief anymore.                He had stepped
21    down, and he was a line attorney, but we kind of -- we
22    consulted on all our cases, so...                       But, no, he did not.
23    He's not the one who assigned me.                       It was my then chief.
24           Q.     And who was -- who was the name of your chief
25    at the time?

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 1           A.     Michelle Jackson.
 2           Q.     Okay.     Was there anybody above her that
 3    requested that it specifically be assigned to you?
 4           A.     I -- I wouldn't know that.
 5           Q.     Okay.
 6                  MR. CLEVENGER:            I'm going to ask the court
 7             reporter to hand you some e-mails we originally
 8             submitted as Plaintiff's 2.                    I think now that
 9             would be 4.       FBI e-mails.
10                  (Off-the-record discussion.)
11                  (Plaintiff's Exhibit No. 4 was marked for
12             identification.)
13    BY MR. CLEVENGER:
14           Q.     I think there should be two pages; is that
15    correct?
16           A.     Yes.    You know what?               Reading this just
17    reminded me of something.
18           Q.     Okay.
19           A.     I did speak with -- I did speak with an FBI
20    agent -- a supervisory FBI agent assigned to the
21    Washington Field Office.                Not anyone mentioned on -- in
22    these e-mails you've just -- Plaintiff's Exhibit 4.
23           Q.     Did you exchange any e-mails with that
24    supervisory agent?
25           A.     No.    I spoke with him in person.

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 1           Q.     Okay.     Have you ever seen any of the e-mails
 2    in this particular exhibit?
 3           A.     Nope.
 4           Q.     Do you know any of the people who are named
 5    on there like Peter Strzok?
 6           A.     I know who he is.              And I know who Lisa Page
 7    is, but I don't know who Jonathan Moffa is.                          I think
 8    those are the only names on here.
 9           Q.     Have you ever communicated with either Peter
10    Strzok or Lisa Page?
11           A.     No, I haven't.            As far as I know, I've never
12    met them.
13           Q.     So you've never seen any of this e-mail
14    correspondence before?
15           A.     No, I have not.
16                  MR. CLEVENGER:            Let's go ahead -- just a
17             housekeeping matter.              Let's go ahead and -- I'm
18             going to move to exhibit -- to admit that exhibit
19             and any of the previous exhibits that have not
20             been admitted.
21                  THE WITNESS:          1, 2, 3, and 4?
22                  MR. CLEVENGER:            Correct.             Any objection?
23                  THE WITNESS:          Not from me.
24                  MR. HARPER:         I -- I mean, I guess I'll just
25             reserve, you know, those kind of evidentiary

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 1             objections until trial or whatnot, but I
 2             certainty consider them marked for the
 3             deposition.
 4                  MR. CLEVENGER:            Okay.        Thank you.
 5    BY MR. CLEVENGER:
 6           Q.     Have you ever spoken with -- well, let me
 7    ask, do you know who John Durham is?                         The U.S. attorney
 8    in Connecticut?
 9           A.     No.
10           Q.     So you were not aware that he was leading a
11    review into the Russian collusion investigation?
12           A.     No.
13           Q.     Has anyone from either the Department of
14    Justice or the FBI reached out to you since you left DOJ
15    to ask questions about Seth Rich?
16           A.     No.
17           Q.     Did you have any role in assisting or
18    preparing the Mueller Report?
19           A.     No.    I read it.
20           Q.     Okay.     Do you know whether the -- if
21    Metropolitan Police Department or the FBI or any other
22    agency specifically investigated whether Seth Rich was
23    involved in the Democratic National Committee e-mail
24    leaks in 2016?
25           A.     I -- I'm not permitted to answer that.

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 1           Q.     So when you resigned from -- or retired from
 2    the U.S. Attorney's Office, were you asked to resign or
 3    retire or you just had already planned to retire?
 4           A.     Counsel, I was tired.                  35 years.     35.   And at
 5    the department -- I mean, that's too many murder trials.
 6    I was done.       It was time to go.
 7           Q.     Okay.
 8           A.     No one asked me to leave.                      I was not fired.
 9    They did ask me to stay.                They even made some very silly
10    offers.      I was -- I was done.
11           Q.     Okay.
12           A.     My last trial was March of 2018, and I will
13    tell you this, verdict came in on a Friday.                         Instead of
14    going out and celebrating -- it was a trial -- my last
15    trial I did with Glenn Kirschner -- I went to bed.                          I
16    did not get out of my bed until the following Sunday.                           I
17    wasn't sick.        I was tired.           And the only reason I got
18    out of bed is because I went to see Black Panther.
19    Seemed like a good reason to get out of bed.                         I was just
20    done.
21                  MR. CLEVENGER:            I'm going ask the court
22             reporter to hand you what I had originally marked
23             as Exhibit 1.        It's another podcast transcript.
24             I guess now it would be Exhibit 5.
25                  (Plaintiff's Exhibit No. 5 was marked for

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 1             identification.)
 2                  THE WITNESS:          Okay.
 3    BY MR. CLEVENGER:
 4           Q.     If you would turn to page 49 of that
 5    Episode 6 transcript.             On -- on that page Mr. Isikoff
 6    says:     MPD or Metropolitan Police Department examined
 7    and reexamined Seth's laptop.
 8                  Is that something that you told Mr. Isikoff?
 9           A.     Yes, it is.
10           Q.     And to your -- to your knowledge, that is a
11    true statement?
12           A.     Yes.
13           Q.     Did the MPD have any assistance from other
14    agencies in examining the laptop?
15           A.     I was not authorized to say what MPD did.                  I
16    should not have said that.                 That is the law enforcement
17    privilege.       It's an open case.                I'm not allowed to
18    answer anything else other than did I say it and was it
19    true.     I was not authorized to say that.
20           Q.     Do you know whether Aaron Rich disclosed all
21    of his brother's e-mail accounts during the
22    investigation?
23           A.     I'm not allowed to answer that.
24           Q.     On page 54 of the transcript, it quotes you
25    as saying that there was more than one person that was

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 1    involved, a gunman and someone who aided and abetted?
 2           A.     Let me just --
 3           Q.     Did you make that statement?
 4           A.     What -- what page is that?
 5           Q.     Okay.     54.
 6           A.     I'm just looking to see where I'm talking.
 7    Wait a minute.        Can you give me a line, Counsel?
 8           Q.     Actually, I don't have it in front of me.
 9    Let me pull it up.          Just a second.
10           A.     I've got it.          I see it.
11           Q.     Okay.     Was that --
12           A.     Hold on.
13           Q.     Is that --
14           A.     Let -- let me read it.
15           Q.     Sure.
16           A.     I said it.        That's the truth.
17           Q.     Okay.     Can you say why you believe it was
18    more than one person?
19           A.     I wish I could.             From my investigation.        From
20    the evidence.
21           Q.     Okay.
22           A.     I really do wish I could answer your
23    question.
24           Q.     I understand.           You said in the interview that
25    you had to track down every lead.                       Did you or anyone

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 1    from your investigative team attempt to contact
 2    WikiLeaks?
 3           A.     Oh, I'm not allowed to answer that.
 4           Q.     And I understand you may not be able to
 5    answer these, but I -- I have to get them on the record.
 6           A.     I understand.           I understand.
 7           Q.     Did you or anyone from your team attempt to
 8    interview or contact Julian Assange?
 9           A.     I'm not permitted to answer that either.
10           Q.     What about Kim Dotcom?
11           A.     I'm not allowed to answer that either.
12           Q.     Did you issue subpoenas to obtain Aaron
13    Rich's bank accounts?
14           A.     I'm not allowed to answer that.
15           Q.     Did you issue subpoenas to obtain Seth Rich's
16    bank accounts?
17           A.     I'm not allowed to answer that.
18           Q.     Did you issue subpoenas to obtain Aaron or
19    Seth Rich's PayPal or eBay accounts?
20           A.     I'm not allowed to answer that.                That's all
21    grand jury.
22           Q.     I understand.
23           A.     I know.
24           Q.     Again, I'm just putting this on the record.
25           A.     I understand.

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 1           Q.     Did you issue -- did you issue a subpoena to
 2    the estate of Seth Rich demanding that the estate
 3    produce to law enforcement any laptop or electronic
 4    devices in Aaron Rich's possession?
 5           A.     I'm not allowed to answer that.
 6           Q.     Are you familiar with any of the four
 7    following e-mail accounts -- or I'll just go one at a
 8    time.
 9                  Are you familiar with the e-mail account
10    sethcrich -- seth.c.rich@gmail.com?
11           A.     I'm not allowed to answer that.
12           Q.     Are you familiar with the e-mail address
13    panda, with the number four, and then
14    progress@gmail.com?
15           A.     I'm not permitted to answer that.
16           Q.     Are you familiar with the e-mail address
17    sethnathanrich@protonmail.com?
18           A.     I'm not permitted to answer that.
19           Q.     Are you familiar with the e-mail address
20    anr12105@aol.com?
21           A.     I'm not permitted to answer that.
22           Q.     Do you know whether Aaron Rich altered
23    metadata on Seth-Rich related information provided to
24    law enforcement?
25           A.     No.

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 1           Q.     You don't know?             Is that the -- is that
 2    your --
 3           A.     I -- I have no information that that's the
 4    case.
 5           Q.     Okay.     Do you know whether Aaron Rich deleted
 6    social media and other electronic data relating to Seth
 7    Rich or any of Seth Rich's social media accounts or
 8    content?
 9           A.     No.
10           Q.     Do you know whether Aaron Rich deleted any
11    information from any of the above e-mail accounts?
12           A.     No.
13           Q.     Was Aaron Rich a person of interest?
14           A.     I'm not permitted to answer that.
15           Q.     If you were to learn that Aaron Rich altered
16    metadata on Seth-Rich related records, would that
17    concern you?
18           A.     No.
19           Q.     You don't think that would be relevant to a
20    murder case?
21           A.     You've already asked me this, Counsel.                 This
22    is asked and answered.              I interviewed Aaron Rich
23    thoroughly, and if he altered anything, I predict it
24    wouldn't have anything to do with this murder
25    investigation.

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 1           Q.     So basically you kind of decided that Aaron
 2    Rich is not going to be a suspect no matter what?                          Is
 3    that --
 4           A.     No.    That's --
 5           Q.     -- your position?
 6           A.     -- completely false.                 If I had evidence that
 7    anyone who even looked like Aaron Rich was involved in
 8    Seth's murder, that would be my man.                         That's not my
 9    evidence.      And of course I can't tell you what the
10    evidence is.
11           Q.     I understand that.               But you're saying that if
12    you were presented with evidence that Aaron Rich altered
13    the metadata on Seth Rich's records, that would not
14    impact your feelings on the murder -- about the murder
15    case?
16           A.     Correct.      It might raise flags about
17    something else, but not the murder.
18           Q.     Do you know when Seth Rich's laptop was first
19    analyzed by the D.C. police?
20           A.     I'm not authorized to answer that.                    I do
21    know, but I'm not allowed to answer it.
22           Q.     Do you know when the laptop was analyzed by
23    the FBI?
24           A.     I'm not allowed to answer that.
25           Q.     But you do know the answer?

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 1           A.     I'm probably not supposed to say that either.
 2    Given that there still exists a law enforcement
 3    privilege that I'm not authorized to discuss or
 4    disclose, I -- I have to say I can't answer that.
 5    Especially now that you showed me that bulletin where
 6    somebody got investigated and almost prosecuted for
 7    doing that without permission.
 8           Q.     Do you know how long Seth Rich's laptop
 9    remained in Aaron Rich's custody?
10           A.     I'm not permitted to answer that.
11           Q.     Do you know how long Seth Rich's second cell
12    phone remained in the custody of Aaron Rich?
13           A.     I'm not permitted to answer that.
14           Q.     Would it concern you if you were to learn
15    that Seth Rich's second cell phone had been subject to a
16    factory reset?
17           A.     I'm not permitted to answer that.
18           Q.     Well, my question is not whether it did or
19    didn't happen, but as a homicide investigator, would
20    those facts -- if those facts were true, would that
21    concern you?
22           A.     Yes.
23           Q.     Would it concern you if you knew Seth Rich's
24    phone had data on it at the time of his murder that was
25    delivered in its original factory condition to law

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 1    enforcement?
 2           A.     Would it -- you -- I'm sorry -- you have to
 3    say that again.         I -- I don't think I understand that
 4    one.
 5           Q.     Sure.
 6           A.     Would it concern me --
 7           Q.     So if --
 8           A.     -- if what?
 9           Q.     Yes.    If -- if -- would it concern you if you
10    knew that Seth Rich's phone -- phones -- second phone
11    had data on it at the time of his murder, but it was
12    later delivered in its original factory condition to law
13    enforcement?        In other words --
14           A.     Oh, I see what you mean.
15           Q.     -- the data on it --
16           A.     Yes.    But usually when that happens, we can
17    bring it back -- they can bring it back up.                   Yes, that
18    would concern me.
19           Q.     Okay.     I think I know the answer to the next
20    question.      Let's see.
21                  Were you aware of any death threats being
22    made to Democratic National Committee staffers during
23    the period prior to Seth Rich's murder?
24           A.     I'm not permitted to answer that.
25           Q.     Was it common knowledge in the Democratic

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 1    National Committee, prior to Seth Rich's murder, that
 2    the Russians had hacked into the Democratic National
 3    Committee and that no other possibility was being
 4    investigated by the FBI?
 5           A.     I'm not permitted to answer that.
 6           Q.     Were you responsible for a criminal
 7    investigation of Matt Couch?
 8           A.     No.
 9           Q.     Do you know whether someone else at the DOJ
10    would?
11           A.     I'm not permitted to answer that.                        Did you
12    ask:     Did I participate it --
13           Q.     Were you responsible --
14           A.     -- or was I responsible?                       I'm not
15    permitted --
16           Q.     Well, actually either?                   Did you --
17           A.     I'm not permitted --
18           Q.     -- participate or --
19           A.     -- to answer either.
20           Q.     Okay.     Did you participate in or were you
21    responsible for a criminal investigation of Edward
22    Butowsky?
23           A.     No.
24           Q.     Do you know whether someone else at DOJ was?
25           A.     No.

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 1           Q.     Do you know whether Matt Couch -- not -- I'm
 2    not asking you to answer; I'm just -- do you know
 3    whether Matt Couch is the subject of a criminal
 4    investigation in connection with the murder of Seth
 5    Rich?
 6           A.     I'm not permitted to answer that.
 7           Q.     Do you know whether Ed Butowsky is the
 8    subject of a criminal investigation in connection with
 9    the murder of Seth Rich?
10           A.     I'm not permitted to answer that.
11           Q.     Did Aaron Rich provide you or your colleagues
12    with evidence in connection with a criminal
13    investigation of Matt Couch or Ed Butowsky?
14           A.     I'm not permitted to answer anything about
15    what Aaron Rich provided me during my investigation.
16           Q.     Do you know who Kelsey Mulka is?
17           A.     Oh, I'm not permitted to answer that.
18           Q.     Can you say whether -- have you -- you've
19    ever spoken with somebody by the name of Kelsey Mulka?
20           A.     I'm not permitted to answer that.
21           Q.     Did a person by the name of Kelsey Mulka ever
22    provide you or your colleagues at DOJ with evidence
23    regarding a criminal investigation of Matt Couch or
24    Edward Butowsky?
25           A.     I'm not permitted to answer that.

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 1           Q.     Did you ever provide Aaron Rich with any kind
 2    of legal advice in connection with the potential
 3    defamation or harassment or other kind of lawsuit
 4    against Matt Couch or Ed Butowsky?
 5           A.     I've never given a witness legal advice --
 6    any witness.
 7           Q.     Have you given him any kind of advice about
 8    filing a potential defamation or other lawsuit --
 9           A.     No.
10           Q.     -- against Matt Couch or Ed Butowsky?
11           A.     No.
12           Q.     Do you know whether any of your colleagues
13    provided such advice to Aaron Rich?
14           A.     No.
15           Q.     Did you issue any subpoenas to Rod Wheeler?
16           A.     I'm not permitted to answer that.
17           Q.     Would you consider his investigation of the
18    Seth Rich murder to be credible?
19           A.     I wish I was permitted to answer that.
20           Q.     Are you in contact with Donna Brazile?
21           A.     No.
22           Q.     Have you communicated with her since you
23    retired?
24           A.     No.
25           Q.     Before you retired?

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 1           A.     No.
 2           Q.     Are you in contact with Muriel Bowser?
 3           A.     No.
 4           Q.     Have you communicated with her since you
 5    retired?
 6           A.     No.
 7           Q.     Before you retired?
 8           A.     No.
 9           Q.     Other than your e-mails that you've produced
10    with Aaron Rich, Joel Rich, Mary Ann Rich, have you had
11    any communications with the three of them?
12           A.     Yes.
13           Q.     Would these be telephone conversations?
14           A.     Some were telephone and there were other
15    e-mails, but they were deleted well before I got
16    subpoenaed.       Celebrating the birth of a grandchild, me
17    retiring.      I -- I -- I've sent the Riches New Year's
18    cards.      Probably Chanukah cards too.                     And we've
19    certainly spoken on the phone.
20           Q.     Do you know approximately how many e-mails
21    were deleted?
22           A.     I have no idea.
23           Q.     Since your retirement, have you had any
24    communications with Kelsey Mulka?
25           A.     No.

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 1           Q.     What about Pratt Wiley?
 2           A.     No.
 3           Q.     Are you aware of theories that Seth Rich was
 4    killed at the hospital?
 5           A.     Yes.
 6           Q.     What do you think of those theories?
 7           A.     You're going to my investigation.                  I'm not
 8    permitted to answer that.                 I wish I could though.
 9           Q.     Are you aware of theories that Seth Rich was
10    in possession of a thumb drive containing valuable
11    information at the time of his death?
12           A.     The theory?         Yes.       Yes.       I'm aware of that
13    theory.
14           Q.     And what do you think of that theory?
15           A.     I'm not allowed to answer that.
16           Q.     Did you investigate whether Seth Rich was
17    having work-related difficulties?
18           A.     I'm not permitted to answer that.
19           Q.     Do you know whether Seth Rich was having
20    work-related difficulties?
21           A.     I'm not permitted to answer that.
22           Q.     Did you ask Aaron Rich what -- what he knew
23    about any work-related difficulties that Seth Rich was
24    having?
25           A.     I'm not permitted to answer that.

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 1           Q.     Did you ask Kelsey Mulka what she knew about
 2    any work-related difficulties Seth Rich was having at
 3    the DNC?
 4           A.     I'm not permitted to answer that.
 5           Q.     Do you think it's valid to investigate
 6    work-related difficulties in a homicide investigation of
 7    a political staffer?
 8           A.     Can you ask that again?
 9           Q.     Sure.     Just in general -- general question --
10    do you think it is valid to investigate work-related
11    difficulties in a homicide investigation from a
12    political staffer?
13           A.     Yes, I do.
14           Q.     Okay.     Did you conduct a forensic examination
15    of Seth Rich's work computer?
16           A.     I'm not permitted to answer that.
17           Q.     If your working theory was that Seth Rich was
18    the victim of a botched robbery, did you exclude other
19    possible theories?
20           A.     Of course not.
21           Q.     Did you vote for Hillary Clinton?
22           A.     Yes.
23           Q.     Do you hate Donald Trump?
24           A.     I have no respect for the president.                I don't
25    hate him.

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 1           Q.     Do you think he is -- okay.                      Do you think
 2    he's incompetent?
 3           A.     Yes.
 4           Q.     Do you think he is dangerous?
 5           A.     Yes.
 6           Q.     Do you think he is a fascist?
 7           A.     A fascist may be too strong of a term.                       I
 8    think he's dishonest.
 9           Q.     Do you think --
10           A.     I think he's a racist.                   I think he's a
11    blowhard show horse.            And I think the reason he's
12    dangerous is because he surrounds himself with "yes
13    people," and he ignores advice from very experienced
14    people.      But I don't -- I don't think -- I don't think
15    hate is -- is an appropriate term.                           And I don't think
16    fascist is an appropriate term.                      I think he's a rich
17    guy, and he's very privileged, and that's how he
18    comports himself.          I should also tell you that I did not
19    vote for Hillary Clinton when she ran against Obama.
20           Q.     Okay.     Do you think Donald Trump is a
21    xenophobe?
22           A.     I don't know.           I -- I don't what he is.
23           Q.     Is he sexist?
24                  THE COURT REPORTER:                Can you repeat that?
25                  MR. CLEVENGER:            I just asked if she thinks

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 1             Donald Trump is a xenophobe.
 2                  THE COURT REPORTER:                And what did you ask
 3             after that, sir?
 4                  MR. CLEVENGER:            That -- that was my last
 5             question.
 6                  THE COURT REPORTER:                Okay.
 7                  THE WITNESS:          I thought you then asked is he
 8             a sexist.
 9    BY MR. CLEVENGER:
10           Q.     Oh, you're right.              Yes.       That was my next
11    question.
12           A.     Sure.
13           Q.     Is Donald Trump a sexist?
14           A.     Sure.
15           Q.     If you obtained evidence that the Russian
16    hacking theory at the DNC was false, would you feel duty
17    bound to provide that information to the attorney
18    general?
19           A.     No.    I -- I wouldn't go directly to the
20    attorney general.          I would -- I would do it through my
21    chain of command.          You know, I would go to the U.S.
22    attorney who would then go to the attorney general.                        The
23    only times I have dealt directly with attorney generals
24    has been for some special investigations I was assigned
25    to where I had to report directly to them, but with

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 1    respect to this investigation, and even stuff with
 2    Russian intelligence, you have to be very careful to
 3    make sure -- you know, you don't -- how do I put this?
 4    You don't -- you don't just walk up to the attorney
 5    general.      Also, you have to -- the people you go
 6    through, you have to make sure they have the appropriate
 7    security clearances for whatever it is you have to tell
 8    them, but, yes, I would make sure that information got
 9    sent up the chain.
10           Q.     What is your opinion of the current attorney
11    general?
12           A.     I don't know how that is relevant, but I'll
13    answer it.       I'm very disappointed and embarrassed at the
14    way he's conducted himself.                  I know many of the lawyers,
15    including myself, who are very dispirited and
16    embarrassed.        He appears not to be -- he appears to be
17    very partisan.        And for a lifelong career prosecutor --
18    I'll just speak for myself.                  I have been threatened; my
19    family has been threatened.                  I have been assaulted at
20    the courthouse.         I have devoted my entire career to --
21    first, at the Civil Rights Division trying to vindicate
22    racial violence and dirty police officers, and then --
23    gosh, since 1996, maybe, I've been prosecuting murder
24    cases trying to vindicate the rights of people who were
25    killed.      And to see an attorney general not back his

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 1    people up and just dismiss them the way I've seen
 2    Attorney General Barr do is very disappointing, very
 3    dispiriting, and it makes me sad.                       A lot of good people
 4    have left.       People that really believe in doing that
 5    thing we all call justice, and I don't see them ever
 6    coming back.        I -- I keep in touch with some of my
 7    former colleagues who are still there.                       It's a struggle.
 8    Not because they're Democrats.                     Many are Republicans.
 9    It's because they're dispirited, and they're
10    embarrassed.
11           Q.     Are you familiar with the -- the phrase or
12    the term "the resistance"?
13           A.     Oh, yeah.       I've heard it.
14           Q.     And as it relates to the Trump
15    administration?
16           A.     Yes, I've heard it.
17           Q.     Were you part of the resistance?
18           A.     Of course not.            I've worked for -- I think I
19    started working with Reagan.                   I have worked for
20    Democrats and Republicans.                 When you're doing justice,
21    it doesn't matter who's in charge until now.                      No one
22    ever asked me, What's your political party?                      No one ever
23    accused me of not doing my job because I didn't like who
24    the boss was.        That's all new.               And it's one of the
25    things that's repugnant, disgusting, and makes me very

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 1    sad.
 2           Q.     Did you tell Aaron Rich that he was free to
 3    delete electronic communications belonging to Seth Rich?
 4           A.     No, I did not.
 5           Q.     Did you tell Aaron Rich he could delete
 6    information -- any other kind of information relating to
 7    Seth Rich?
 8           A.     No, I did not.
 9           Q.     If Aaron Rich had material information
10    relating to Seth Rich's communications with WikiLeaks,
11    do you believe he would have had a duty to bring that
12    information to your attention?
13           A.     Yes.
14           Q.     Did you tell Aaron Rich he could alter the
15    metadata on Seth Rich's electronic communications?
16           A.     No.
17           Q.     Did you investigate whether Russians tried to
18    hack into the electronic devices of Aaron Rich after the
19    Fox News article broke on May 15, 2017?
20           A.     I'm not allowed to answer that.
21           Q.     Did you investigate whether the Russians
22    tried to hack into the electronic devices of Brad Bauman
23    after the May 15, 2017 article?
24           A.     I'm not allowed to answer that.
25           Q.     Do you know Brad Bauman?

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 1           A.     No.
 2           Q.     Have you ever communicated with someone by
 3    that name?
 4           A.     I'm not allowed to answer that.
 5           Q.     Did you discover any evidence that Russians
 6    had hacked into Aaron's electronic devices or into
 7    Seth's electronic devices?
 8           A.     I'm not allowed to answer that.
 9                  MR. CLEVENGER:            I believe that is the end of
10             my questions.
11                  Would you guys like to take a lunch break?
12                  THE WITNESS:          No.      I'd like to get this over
13             with.    I'm in a fairly small room, and we have a
14             pandemic going on.             I don't want to come back.
15                  MR. HARPER:         Yeah.        That's fine with me.
16             Might we take a five-minute bathroom break?
17             Would that be --
18                  THE WITNESS:          Sure.
19                  MR. HARPER:         -- good for everybody?         I'm --
20                  THE WITNESS:          Sure.
21                  MR. HARPER:         I want to make sure the court
22             reporter is also -- give her a five-minute
23             break --
24                  THE WITNESS:          Is that okay?
25                  MR. CLEVENGER:            Good idea.

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 1                  MR. HARPER:         -- and come back and get
 2             started.
 3                  THE WITNESS:          All right.
 4                  THE VIDEOGRAPHER:              Time is 12:03, and we're
 5             off the record.
 6                  (Recess had from 12:03 p.m. to 12:14 p.m.)
 7                  THE VIDEOGRAPHER:              Time is 12:14, and we're
 8             back on the record.
 9                               CROSS-EXAMINATION
10    BY MR. HARPER:
11           Q.     Ms. Sines, my name is David Harper.                  I'm a
12    lawyer with the law firm of Haynes and Boone based in
13    Dallas, and we represent the defendants in the case,
14    including National Public Radio.                       National Public Radio
15    and some of its personnel, including one of its
16    reporters, was sued by Mr. Butowsky, the plaintiff in
17    this case.       Do you understand that?
18           A.     Yes, sir.
19           Q.     And it -- the -- the -- the -- part of the
20    lawsuit relates to a Fox News story in May of 2017 that
21    related to Seth Rich's death.                    Are you aware of that?
22           A.     Is that the story with Mr. Wheeler and
23    Mr. Butowsky?
24           Q.     Yes.    The story -- the story includes
25    Mr. Wheeler.

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 1           A.     And not Mr. Butowsky?
 2           Q.     I don't believe that the Fox News story talks
 3    about Mr. Butowsky.
 4           A.     All right.        I'm -- I am familiar -- I've seen
 5    several Fox things.           That's why I was asking that
 6    question.
 7           Q.     Well, first let me say thank you for
 8    appearing today in this highly unusual time, and I will
 9    try to be very respectful of your time, but I just
10    wanted to say I'm grateful for you appearing today in
11    light of what's going on in the country.
12           A.     Thank you, Mr. Harper.                   I -- I did not want
13    to come here because of the pandemic.                        It's difficult
14    for me.      I'm elderly.
15           Q.     And you are appearing today in response to a
16    subpoena that was issued to you by Mr. Butowsky's
17    lawyers, and then we served a follow-on subpoena; is
18    that correct?
19           A.     Yes, sir.
20           Q.     And we first spoke today shortly before your
21    deposition on this video conference process that we're
22    using; is that right?
23           A.     Yes.
24           Q.     And you understand that the Department of
25    Justice has been advised of this deposition.                       They're

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 1    aware of it --
 2           A.     Yes.
 3           Q.     -- is that right?
 4                  And as far as you -- and -- and as -- in your
 5    understanding, that -- they've -- they've decided not to
 6    appear today; is that correct?
 7           A.     Yes.
 8           Q.     Now, I'll apologize in advance that some of
 9    my questions may seem a little bit repetitive, but I'll
10    try to minimize that, but I'm going to be going through
11    some of the same documents that you already went
12    through --
13           A.     All right.
14           Q.     -- with Mr. Clevenger.
15                  MR. HARPER:         First, could we mark -- let me
16             ask the court reporter if we could mark the
17             affidavit that was included in the documents you
18             produced earlier today as the next exhibit.                  I
19             believe Exhibit 6.
20                  (Off-the-record discussion.)
21                  (Defendants' Exhibit No. 6 was marked for
22             identification.)
23                  THE WITNESS:          I have it, Mr. Harper.
24    BY MR. HARPER:
25           Q.     Thank you.        So Exhibit 6 is an affidavit that

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 1    you prepared; is that right?
 2           A.     Yes, sir.
 3           Q.     And although this copy is not signed, you did
 4    sign an affidavit with this same content in it; is that
 5    right?
 6           A.     Yes, I did.
 7           Q.     And are all the statements in your affidavit,
 8    which is Exhibit 6, true and correct?
 9           A.     Yes.
10           Q.     Now, I understand that because of your former
11    role as a prosecutor, that the Department of Justice has
12    instructed you not to speak about certain matters; is
13    that correct?
14           A.     Yes.
15           Q.     And that's largely based upon a law
16    enforcement privilege based upon investigating criminal
17    matters; is that correct?
18           A.     Yes.    And grand jury.
19           Q.     Okay.     And -- but the Department of Justice
20    actually approved the statements that you made in this
21    affidavit; is that right?
22           A.     That's true.
23           Q.     Let me -- if I could, I'm going -- I'm going
24    to walk you through the statements in your affidavit; is
25    that all right?

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 1           A.     Yes.
 2                  THE COURT REPORTER:                Mr. Harper?
 3                  MR. CLEVENGER:            Yeah.        I can't hear him
 4             either.
 5    BY MR. HARPER:
 6           Q.     I apologize.          Can you hear me?
 7           A.     We can.
 8           Q.     The -- my Internet connection must have
 9    crashed.      So I apologize.             Let me back up just a little
10    bit so that I know where we are.
11                  So your affidavit says this -- obviously your
12    name is Deborah Sines; right?
13           A.     Right.
14           Q.     And is it true that now you're -- at this
15    time, you're retired and you live in Florida?
16           A.     That's true.
17           Q.     And you practiced law in Washington, D.C. for
18    more than 35 years?
19           A.     Yes.
20           Q.     And you make it clear in your affidavit that
21    your statements are being made on your own behalf and
22    not on behalf of the United States, the Department of
23    Justice, or the U.S. Attorney's Office for the District
24    of Columbia; is that right?
25           A.     Yes.

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 1           Q.     During your career, did you try more than
 2    100 cases?
 3           A.     Yes.
 4           Q.     And did you conduct approximately 500
 5    investigations?
 6           A.     Yes.
 7           Q.     And before your retirement, you served as an
 8    assistant U.S. attorney in the -- assistant U.S.
 9    attorney?
10           A.     Yes.
11           Q.     Including in the District of Columbia?
12           A.     Yes.
13           Q.     And that lasted from 1996 to 2018?
14           A.     Yes.
15           Q.     And were you primarily in the homicide
16    section?
17           A.     I was except -- I think when I first started
18    out, I was in some senior felony position where I just
19    tried a couple of violent crimes, and maybe three months
20    later, I went to homicide.                 I left homicide for one year
21    because I got angry and went to the narcotics section
22    for a year, and I tried one nine-month-long narcotics
23    conspiracy case and two or three murder cases that year.
24    And then I went back to homicide, served as a deputy
25    chief for a year, and then went back to the line.                     So --

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 1           Q.     So --
 2           A.     -- there was one year between 1996 and 2018
 3    where I was in narcotics.                 I was still doing murder
 4    cases, but I was in narcotics.
 5           Q.     So it -- would it be fair to say that you --
 6    you were a prosecutor for a long time in the homicide
 7    section in the U.S. Attorney's Office in the District of
 8    Columbia?
 9           A.     Yes, sir.
10           Q.     And what -- what -- it's a little unusual
11    because you were in the District of Columbia, as most
12    people are used to seeing these kind of prosecutions
13    done by -- by a district attorney's office, but because
14    of the way the district is set up, it's a federal --
15           A.     District.
16           Q.     -- the District of Columbia, the federal
17    district.      That's done by the U.S. Attorney's Office; is
18    that right?
19           A.     Yes.
20           Q.     So then -- to follow on in your affidavit,
21    you worked as a trial attorney in the Civil Rights
22    Division in the -- of the U.S. Attorney's Office as
23    well; is that correct?
24           A.     No, not the U.S. Attorney's Office.                That's
25    main justice.        The Department of Justice in D.C., but

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 1    you try cases all over the country, but your home
 2    base -- your office is in D.C.
 3           Q.     So you were in the Civil Rights Division of
 4    the Department of Justice and it -- and that was from
 5    1995 to 19- -- 1985 to 1996?
 6           A.     Yes.    And while I was there, I tried mostly
 7    racial violence cases.              I also -- I tried one slavery
 8    case.     And I prosecuted -- I'll call them dirty cops --
 9    law enforcement officers, excessive force, that kind of
10    stuff, but they all pleaded guilty.
11           Q.     And before that, you were a criminal defense
12    attorney in the Washington -- in Washington, D.C.?
13           A.     Yes, I was.
14           Q.     And I -- by the way, where did you go to
15    college and law school?
16           A.     Okay.     College was GW -- George Washington
17    University in Washington, D.C., and then I went to a law
18    school that no longer exists called the Antioch School
19    of Law also in Washington, D.C., and that's where I got
20    my JD.      Then I went to Georgetown University Law Center
21    where I got an LLM in trial advocacy.
22           Q.     All right.        Thank you.             And I see in 2017 you
23    were inducted as a fellow in the American College of
24    Trial Lawyers?
25           A.     Yes, I was.

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 1           Q.     Congratulations.
 2           A.     Thank you.
 3           Q.     That is a very prestigious honor.
 4           A.     Thank you.
 5           Q.     As I see in your affidavit, you say:                That
 6    from 2016 to 2018 I was the lead assistant U.S. attorney
 7    assigned to the murder of Seth Rich.
 8                  Is that right?
 9           A.     Yes.
10           Q.     And you understood that he was shot and
11    killed in the 2100 block of Flagler Place Northwest in
12    Washington, D.C., on July 10th, 2016?
13           A.     Yes.
14           Q.     For two years you say you helped direct the
15    police investigation and coordinated the prosecutory
16    work related to Seth Rich's murder --
17           A.     Yes.
18           Q.     -- is that true?
19                  In paragraph 10 of your affidavit, you
20    described some of the things that you did in your
21    investigation; is that right?
22           A.     Yes.
23           Q.     You say:      As part of your job during the
24    investigation of the murder of Seth Rich, you personally
25    reviewed and analyzed relevant evidence collected and/or

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 1    generated by the Metropolitan Police Department for the
 2    District of Columbia.
 3                  Did you do that?
 4           A.     Yes.
 5           Q.     And you also personally reviewed and analyzed
 6    evidence collected and/or generated by the Office of the
 7    Chief Medical Examiner for the District of Columbia?
 8           A.     True.
 9           Q.     And you also reviewed and analyzed material
10    from the Department of Forensic Sciences for the
11    District of Columbia; is that right?
12           A.     Yes.
13           Q.     You also consulted with those law enforcement
14    agencies as well as the Federal Bureau of
15    Investigation -- or the FBI -- about the case; is that
16    right?
17           A.     Yes.
18           Q.     And you personally reviewed and analyzed
19    medical records related to the antemortem treatment of
20    Seth Rich for his gunshot wounds?
21           A.     Yes.
22           Q.     And you personally reviewed and analyzed
23    statements posted online about the case; is that right?
24           A.     Yes.
25           Q.     Also as part of your investigation, you

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 1    personally interviewed witnesses with information
 2    relevant to the criminal investigation --
 3           A.     Yes.
 4           Q.     -- is that correct?
 5           A.     Yes.
 6           Q.     Are all those normal things that you would do
 7    as part of a homicide investigation?
 8           A.     Everything except the online stuff.
 9    Occasionally, you also have to look -- you know, you
10    look at phone records and things like that, but it's
11    unusual to have so many online things.                       Occasionally,
12    they come up.        People sometimes even film their own
13    murders, but it's unusual to have this much online
14    information all over the country on a case.
15           Q.     But you had conducted many, many homicide
16    investigations, and you conducted this one as you had
17    many others; is that right?
18           A.     That's right.
19           Q.     You go on to say that, during your
20    involvement with the criminal investigation, you became
21    aware of allegations published online, on air, or in
22    print that Seth Rich had stolen e-mails from the
23    Democratic National Committee, DNC; is that true?
24           A.     Yes.
25           Q.     And Mr. Rich, before his death, did work for

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 1    the Democratic National Committee; is that right?
 2           A.     Yes.
 3           Q.     And you say that where he was employed at the
 4    time of his death.          And you -- you became aware of these
 5    allegations posted online and on air that he had
 6    provided e-mails to WikiLeaks from the -- from the DNC
 7    and was murdered as a result.                    You became aware of those
 8    allegations?
 9           A.     Yes.
10           Q.     You say, for example:                  In May 2017, I became
11    aware of a Fox News story published online and on air
12    alleging that Seth Rich was involved in the hacking
13    of -- of the DNC e-mails.
14                  Is that right?
15           A.     Yes.
16           Q.     And in August 2017 you became aware of
17    publications online also accusing Seth Rich's brother
18    Aaron Rich of working with his brother to download the
19    DNC e-mails and sell them on WikiLeaks in exchange for
20    monetary compensation.              You became of those
21    allegations -- you became aware of those allegations; is
22    that right?
23           A.     Yes.
24           Q.     Other online postings linked these alleged
25    activities to Seth Rich's murder; is that right?

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 1           A.     Yes.
 2           Q.     Those are things that you became aware of?
 3           A.     Yes.
 4           Q.     Now, is it true that you were aware of no
 5    evidence of any contact between either Seth or Aaron
 6    Rich and WikiLeaks?
 7           A.     That's true.
 8           Q.     And you were the prosecutor investigating
 9    this murder; right?
10           A.     Yes.
11           Q.     You also -- is it also true that you are
12    aware of no evidence that Seth Rich ever improperly
13    downloaded information from the DNC or that he provided
14    such information or any other information to WikiLeaks?
15           A.     Yes, that's true.
16           Q.     And, again, you were the prosecutor assigned
17    to investigate this?
18           A.     Yes.
19           Q.     And you've already described what you did to
20    investigate this?
21           A.     Yes.
22           Q.     Is it true that you were aware of no evidence
23    that Aaron Rich was ever involved in the transmission of
24    stolen information from the DNC to WikiLeaks?
25           A.     That's true.

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 1           Q.     Are -- let me ask you if this is true.                 Are
 2    you aware -- aware of no evidence that Aaron Rich ever
 3    received any compensation from WikiLeaks?
 4           A.     That's true.
 5           Q.     Robert Mueller was a special counsel assigned
 6    by the Department of Justice to conduct an investigation
 7    as -- as a special counsel; is that right?
 8           A.     That's right.
 9           Q.     And Mr. Mueller is the former director of the
10    FBI; is that right?
11           A.     That's right.
12           Q.     And he was assigned a number of resources and
13    people to help him investigate a number of things
14    including alleged Russian interference with the 2016
15    election?
16           A.     Yes.    Mr. Mueller was also -- let's see -- he
17    was chief of homicide in the U.S. Attorney's Office for
18    the District of Columbia.                 He was the United States
19    attorney San- -- for San Francisco in California.                     He
20    was the United States attorney in Boston.                    So he -- I
21    knew him because I met him in Boston when I was trying
22    some skinheads, and he was the boss in Boston.                    And then
23    we worked together at the U.S. Attorney's Office.                     He --
24    he was never my chief, but we did work together there.
25    And when he came back to do his special investigation,

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 1    they had their own offices.                  They had their own -- they
 2    weren't linked up in our computer system with us regular
 3    DOJ people.       They were entirely separate.
 4           Q.     But you were aware that he was a highly
 5    experienced prosecutor and investigator?
 6           A.     Absolutely.         Absolutely.
 7           Q.     And, again, had been the director of the
 8    Federal Bureau of Investigation --
 9           A.     Yes.
10           Q.     -- is that right?
11           A.     Yes.
12           Q.     And you have read the publicly available,
13    redacted version of the Report on the Investigation into
14    Russian Interference in the 2016 Presidential Election
15    of special counsel's report; is that right?
16           A.     Yes.
17           Q.     And you were aware of no evidence that
18    contradicts, is inconsistent with, or undermines the
19    conclusions in the special counsel's reports at Volume
20    1, page 48 that WikiLeaks and WikiLeaks founder Julian
21    Assange made several public statements apparently
22    designed to obscure the source of the materials that
23    WikiLeaks was releasing; is that right?
24           A.     That's right.
25           Q.     In other words, you -- you have no evidence

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 1    or information that contradicts the statement made in
 2    the special counsel's report that WikiLeaks and Assange
 3    made statements to obscure the source of the materials
 4    that's WikiLeaks was releasing?
 5           A.     That's true.
 6           Q.     And also you're not aware of any evidence
 7    that contradicts, is inconsistent with, or undermines
 8    the conclusion in the special counsel's report that the
 9    statements about Seth Rich implied falsely that he had
10    been the source of the stolen DNC e-mails?
11           A.     That's true.
12           Q.     In other words, your information -- you have
13    no information to say that he -- that he -- to say
14    anything contrary that -- well, let me restate my
15    question.
16                  Your information is that Assange and
17    WikiLeaks were falsely implying that Seth Rich was the
18    source of the stolen DNC e-mails?
19           A.     That's true.          Now, what I don't know,
20    Counsel, is -- I don't know what Mr. Mueller's team
21    examined.      I don't have a clue.                  But my conclusions were
22    the same as the report.
23           Q.     And his report -- Mr. Mueller's report
24    concluded that Seth Rich was not the source of the
25    WikiLeaks e-mails; is that right?

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 1           A.     Yes, it did.          Concluded he was not the source
 2    of the stolen e-mails.
 3           Q.     Now, shortly after Seth Rich's murder, you
 4    began speaking with Aaron Rich; is that right?
 5           A.     Yes.
 6           Q.     And you may -- you kept in touch with him
 7    throughout the course of your involvement in the
 8    criminal investigation?
 9           A.     Yes.
10           Q.     Did Mr. Aaron Rich fully cooperate with you?
11           A.     Yes, he did.
12           Q.     And to the best of your knowledge, did he
13    fully cooperate with local and federal law enforcement
14    agencies investigating his brother's murder?
15           A.     Yes.
16           Q.     Now, you say this in your affidavit, but I
17    want to make sure it's clear on the record that it's
18    because of considerations concerning law
19    enforcement-sensitive investigative techniques and
20    applicable privileges and legal protections including,
21    but not limited to, a government or other privilege and
22    the attorney work-product doctrine, you were unable to
23    discuss any other topic related -- relating to the
24    investigation of the murder of Seth Rich; is that your
25    understanding?

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 1           A.     Yes.
 2           Q.     And although this affidavit is not signed,
 3    you did sign one; right?
 4           A.     I did.
 5           Q.     And you stated under penalty of perjury that
 6    all of this was true and correct; is that right?
 7           A.     Yes, I did.
 8           Q.     Now, let me -- if I may turn to what's been
 9    marked before as Exhibits 1 and 2 to your deposition.
10           A.     Hold on.      Thank you.             Got it.
11           Q.     Let's just start with Exhibit 1.
12           A.     Okay.
13           Q.     Exhibit 1 is a transcript of a portion of an
14    episode of a podcast called "Conspiracyland Episode 2"
15    and is a transcript of a portion of that where you speak
16    with Mr. Michael Isikoff; is that right?
17           A.     Yes.
18           Q.     And Mr. Isikoff is a reporter?
19           A.     I'd call him a journalist.
20           Q.     And you spoke with Mr. Isikoff about the Seth
21    Rich murder to some degree; is that right?
22           A.     Yes, I did.
23           Q.     And you already confirmed that Exhibit 1
24    truthfully transcribes your statements that you made and
25    the podcast itself, Episode 2; is that right?

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 1           A.     Yes.
 2           Q.     And the statements that are included in -- in
 3    Exhibit 1 that you make are truthful --
 4           A.     Yes.
 5           Q.     -- is that right?
 6                  Let me just walk you through a few of these.
 7    First of all, as were accounted in Exhibit 1, you become
 8    aware of conspiracy theories out on the Internet; is
 9    that right?
10           A.     Yes.
11           Q.     Okay.     And as you already said, you used your
12    security clearance to ask about those; is that right?
13           A.     That's what it says.
14           Q.     Okay.     Yeah.       So Mr. Isikoff recites that you
15    used your security clearance to ask U.S. -- the U.S.
16    intelligence community.               That's what he says in the
17    podcast; is that right?
18           A.     That's what he says.
19           Q.     And you told him that; right?
20           A.     Yes.    Well -- but I did not have the
21    authority to tell him that.                  I should not have.
22           Q.     But that was -- but -- but you made truthful
23    statements to him; is that right?
24           A.     Yes.
25           Q.     And a little later down in Exhibit 1, there's

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 1    a discussion of the "what does it mean" website.                     Do you
 2    see that?
 3           A.     I see it.
 4           Q.     Yes.    And the "what does it mean" web- --
 5    whatdoesitmean.com website reported just three days
 6    after Seth Rich's death and alleged that he was gunned
 7    down by a Hillary Clinton hit squad; is that right?
 8           A.     That's right.
 9           Q.     And you learned that there was a fake
10    bulletin circulated by the Russian SVR, the Kremlin's
11    version of the CIA, that said something similar; isn't
12    that right?
13           A.     That's what I told Mr. Isikoff.                I do not
14    have the authority to discuss that any further.
15           Q.     But -- but, again, as you said, you were
16    truthful in your --
17           A.     Yes.
18           Q.     -- communications with --
19                  But you do know that the SVR is a Russian
20    intelligence agency; is that right?
21           A.     Yes, I do.
22           Q.     And are you aware that -- that the SVR puts
23    out false information out onto the Internet?
24           A.     Yes, I am.        Independently of this case.
25           Q.     And are you -- Mr. Isikoff says that the

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 1    SVR's bulletin made the exact same allegations about
 2    Seth Rich on the exact same day as the
 3    whatdoesitmean.com story; is that true?
 4           A.     Yes.
 5           Q.     And then you say in Exhibit 1 that the
 6    original report from the SVR alleged that Seth thought
 7    he was meeting with the FBI and instead he was met by a
 8    Hillary Clinton hit team.
 9                  That's what you said; right?
10           A.     That's what I said, but I -- I'm not sure
11    whether that was from whatdoesitmean.com or the SVR
12    report.      I -- I'm not sure which one alleged that.
13           Q.     Okay.     And did the original report also
14    allege that the hit team was captured after a running
15    gun battle with U.S. federal police -- with the U.S.
16    federal police force just blocks from the White House?
17           A.     It was either the whatdoesitmean.com report
18    or the SVR report.
19           Q.     Now, as a prosecutor in Washington, D.C.,
20    were you aware of any running gun battles blocks from
21    the White House the day of Seth Rich's murder?
22           A.     As a resident of the District of Columbia, I
23    would have been aware of it, not just as a prosecutor.
24    Things do happen in D.C. that require shutdowns of
25    streets, et cetera.           There was no shoot-out a couple of

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 1    blocks from the White House the night Seth was murdered.
 2           Q.     And is it true that -- well, you say here in
 3    your -- in Exhibit 1 that -- that:                           No.   It never
 4    happened.      It's all made up.
 5                  Right?
 6           A.     Yes.    That's exactly what I said.                     It's all
 7    made up.
 8           Q.     And that includes that he was gunned down by
 9    a Hillary Clinton hit squad?
10           A.     Yes.    That's -- that includes that.
11           Q.     And it -- does it also include that he
12    thought he was meeting with the FBI the night of his
13    murder?
14           A.     Yes.
15           Q.     Let me turn to the next page of Exhibit 1.
16    Did you think it was outrageous to have a foreign
17    intelligence agency set up one of the decedents that you
18    were investigating the murder?
19           A.     Yes, I did.
20           Q.     And you -- as set out in Exhibit 1, you
21    discovered that the Russians had planted the idea that
22    there was a conspiracy?
23           A.     That's what I said.                And that's the truth.
24           Q.     Now, this whatdoesitmean.com website purports
25    to be run by a secret order of nuns; is that correct?

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 1           A.     I don't know if that's true or not.                 That's
 2    what Mr. Isikoff said.              I -- I have no idea who runs any
 3    of those websites.
 4           Q.     Did you also learn that there was another
 5    bogus intelligence report a few weeks after the initial
 6    fake bulletin?
 7           A.     I -- I think I did.                I think I did.   Yeah.
 8    And I think I told Mr. Isikoff I did.
 9           Q.     And it -- and -- and what you told him was
10    true based upon what you knew; right?
11           A.     Yes.    Yes.
12           Q.     And you were very concerned that this was
13    coming from the SVR; right?
14           A.     Yes, I was.
15           Q.     Now, if you go on in this exhibit a little
16    father down after the -- there's a line there -- a later
17    part of this particular episode of the podcast.                     It says
18    that you wrote a memo that you sent to the National
19    Security Division of the Justice Department; is that
20    right?
21           A.     Yes.
22           Q.     Okay.     And you also met with personnel who
23    were working with Special Counsel Robert Mueller?
24           A.     Yes.
25           Q.     And as the Mueller Report found that the --

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 1    the Russians did engage in a deliberate strategy to use
 2    Seth Rich's murder to distract investigators in the
 3    public from finding out what they had done during the
 4    2016 election?
 5           A.     Yes.
 6           Q.     And you -- you agree, based upon your
 7    investigation, with that?
 8           A.     Yes.
 9           Q.     And based upon that, you came to a conclusion
10    about why Russia was doing this; is that correct?
11           A.     I did.     I had my own speculation about that.
12    Yes.
13           Q.     Well, would you read that last paragraph
14    that --
15           A.     Sure.
16           Q.     -- from the podcast?
17           A.     So then you got to look at, Well, why is
18    Russia doing this?          And what else is going on?            Well,
19    what else is going on is we have a special counsel who
20    is investigating Russia stealing Clinton e-mails or DNC
21    e-mails.      And then -- I mean, it's not rocket science.
22    Before you add it up and you go, Oh, if Seth is the
23    leaker to WikiLeaks, it doesn't have anything to do with
24    Russia.      So, of course, Russia's interest in doing this
25    is incredibly transparent.                 Let's blame it on Seth Rich.

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 1    He's a very convenient target.
 2           Q.     And that's what you believed based upon your
 3    investigation?
 4           A.     Yes.    I still believe it now.
 5           Q.     Let me ask you a few more questions about the
 6    Mueller Report, which you've already -- already
 7    testified that you read.                The report found that the
 8    Russians planted this story; is that correct?
 9           A.     Yes.
10           Q.     And the report found that Seth Rich did not
11    leak the e-mails to WikiLeaks?
12           A.     Yes.
13           Q.     The -- Mr. Mueller's report found that the
14    Russians hacked the DNC servers; is that right?
15           A.     Yes.
16           Q.     And that the Russians provided the e-mails to
17    WikiLeaks?
18           A.     Yes.
19           Q.     And actually found that the e-mails that were
20    provided from the DNC to WikiLeaks were not provided to
21    WikiLeaks until several days after Seth Rich was
22    murdered?
23           A.     Yes.
24           Q.     So he wasn't even alive according to Special
25    Counsel Mueller's report at the time that the DNC

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 1    e-mails were provided to WikiLeaks?
 2           A.     Yes.
 3           Q.     Ms. Sines, let me turn to Exhibit 2, the
 4    Episode 5 transcript.             Do you have that before you?
 5           A.     I do.
 6           Q.     Okay.     And, again, this -- this transcript is
 7    a -- truthfully transcribes your -- what is a portion of
 8    this broadcast that you participated in; is that right?
 9           A.     Yes.
10           Q.     And the statements that you made that are
11    contained in Exhibit 2 in this podcast are truthful?
12           A.     Yes.
13           Q.     Now, again, this portion of the podcast is
14    talking about the Fox News story about Seth Rich that
15    was first published on May 15th, 2017.                       Do you
16    understand that?
17           A.     Yes.
18           Q.     And do you have any understanding that Mr.
19    Butowsky was involved in some way with respect to that
20    story?
21           A.     Yes.    Based on what Mr. Butowsky said on Fox
22    News, CNN, anybody else who would listen, he was the one
23    who was -- I think I have this right -- he was the one
24    that was inciting Rod Wheeler to do this conspiracy
25    theory story.

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 1           Q.     You heard him say that on CNN or some other
 2    media?
 3           A.     Yes.    I sure did.
 4           Q.     Now, this Fox News story was -- do you
 5    understand that it was ultimately retracted about a week
 6    or so after it was published?
 7           A.     Yes.    So it would have been --
 8           Q.     And --
 9           A.     -- after it was retracted -- I'm sorry,
10    sir -- it would have been after it was retracted, and I
11    want to say Rod Wheeler filed some lawsuit against Fox
12    and Mr. Butowsky.          And then that's when Mr. Butowsky
13    went on Fox News and CNN and made several statements
14    about this case.
15           Q.     And you understand that this -- the Fox News
16    story that was retracted alleged that Seth Rich had some
17    communication with WikiLeaks?
18           A.     Yes.
19           Q.     Now, let -- let me turn back to Exhibit 2.
20    When -- when -- when the -- this story was released by
21    Fox, you say you were furious about it --
22           A.     I was.
23           Q.     -- is that right?
24           A.     Yes.
25           Q.     And why were you furious?

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  1           A.     First of all, I don't like anyone in the
  2    media talking about an open murder case where we haven't
  3    even made an arrest yet.               It -- it -- that's first of
  4    all.    Second of all, there was false information.                          And
  5    then this one turned into a feeding frenzy.                         All kinds
  6    of people were coming out of the woodwork and buying
  7    into this -- I call them self-anointed conspiracy
  8    theorists.      And you have them on the left, you have them
  9    on the right, but it makes my job harder because I have
 10    to investigate all of that.
 11                  And in this particular case, it was so
 12    bruising to the decedents' family.                          And you got to
 13    understand, I'm still in touch with that family.                          That's
 14    not the only family.           I have decedents where the trials
 15    were over a hundred years ago, and they still reach out
 16    to me even though I'm retired.                    Those folks are
 17    vulnerable.       They're crushed.              They've lost somebody
 18    they love.      And in this particular case, Seth's parents
 19    were just -- they were crushed.                     And they felt so
 20    betrayed by people they trusted.                      And it was horrible.
 21    So, yeah, I was livid.             I was furious.
 22           Q.     And it also -- it just makes your job harder
 23    as a prosecutor to try to get through all of this; is
 24    that right?
 25           A.     Yes.    And it also scares witnesses off.                      They

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  1    start hearing about Russians and hit squads, and, you
  2    know, all of that nonsense.                 And it's hard enough in
  3    D.C. to get somebody to tell the truth about what they
  4    saw.    Add this to the mix, it makes it much more
  5    difficult.      And, unfortunately, what happens is you
  6    waste time investigating false conspiracy theories when
  7    your time is so much better spent on working on your
  8    murder.
  9           Q.     Later in -- on this exhibit, Mr. Isikoff
 10    says:    The specifics in the story -- the Fox story --
 11    was that there was an FBI report about an FBI analysis
 12    of Seth Rich's computer that showed he was in
 13    communication with WikiLeaks.                   And he asked you, Was
 14    there any truth to that?
 15                  And what did you say?
 16           A.     No.    None.     Complete fabrication.
 17           Q.     And was that statement that you made
 18    truthful?
 19           A.     Yes.
 20           Q.     The report also says that you reached out to
 21    the FBI, and you said you did --
 22           A.     That's what I said.
 23           Q.     -- is that true?
 24                  And the report says that Mr. Isikoff asked
 25    you:    What did they tell you?

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  1                  And you said, No.
  2                  Is that right?
  3           A.     Yes.
  4           Q.     Now, that means that Seth Rich's computer did
  5    not show that he was in communication with WikiLeaks; is
  6    that right?
  7           A.     That's right.
  8           Q.     And, as a matter of fact, you said in this
  9    report:     No.     No connection between Seth and WikiLeaks,
 10    and there was no evidence on his work computer of him
 11    downloading and disseminating things from the DNC.
 12                  That's what you said; right?
 13           A.     Yes.
 14           Q.     And that was true?
 15           A.     Yes.
 16           Q.     And --
 17           A.     And that's what I shouldn't have said because
 18    I did not have permission to disseminate that from the
 19    Department of Justice.
 20           Q.     Nevertheless, still true; correct?
 21           A.     Yes, sir.
 22           Q.     And it wasn't from some thumb drive that he
 23    had?
 24           A.     No.
 25           Q.     Mr. Isikoff said that there was unusual

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  1    activity by a foreign hacker after Seth Rich's death; is
  2    that right?
  3           A.     Yes.
  4           Q.     And, in fact, there was some -- somebody
  5    trying to hack into Seth Rich's Gmail account; is that
  6    right?
  7           A.     Yes.
  8           Q.     After his death?
  9           A.     Yes.
 10           Q.     That wasn't Aaron Rich, was it?
 11           A.     You know I'm not allowed to answer that,
 12    but --
 13           Q.     Is he from --
 14           A.     -- Aaron Rich is not a foreigner.
 15           Q.     Did you found -- you learned that a foreign
 16    source was trying to hack into Seth's Gmail account?
 17           A.     Yes.
 18           Q.     Have you ever heard of any -- anyone by the
 19    name of Defango?
 20           A.     I'm not allowed to answer that.
 21           Q.     Based upon your investigation, was the Fox
 22    News story suggesting that there was communication
 23    between Seth Rich and WikiLeaks?                      Was the Fox News story
 24    true or false?
 25           A.     False.

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  1           Q.     And based upon the Mueller Report, was the
  2    Fox News story suggesting that Seth Rich had
  3    communicated with WikiLeaks -- was it -- was that Fox
  4    News story true or false?
  5           A.     False.
  6           Q.     And did the Fox News story suggesting that
  7    communication -- was that similar to the Russian
  8    intelligence agencies' false claims trying to make
  9    people think that Russia did not steal the DNC's e-mails
 10    and supply them to WikiLeaks?
 11           A.     Yes.
 12           Q.     Now, since the podcast was published, have
 13    you had any contact with Ed Butowsky?
 14           A.     Ed Butowsky -- I believe it was Ed
 15    Butowsky -- posted something on -- I don't know if it
 16    was Instagram or a Tweet -- inviting me to look at
 17    something.      I ignored it.            I've never spoken to him, and
 18    I've had no contact with him.
 19           Q.     Has he ever harassed you in any way?
 20           A.     I don't know.
 21           Q.     What about Matt Couch?                  Have you ever had any
 22    communication with him?
 23           A.     No, I have not.
 24           Q.     Has he harassed you in any way that you're
 25    aware of?

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  1           A.     I don't know.
  2           Q.     Have you been harassed in any way since -- by
  3    anyone -- since the podcast?
  4           A.     I have received some -- I don't know if the
  5    right term is "unpleasant" -- because of -- I've had to
  6    have three different details of U.S. marshals for
  7    security purposes in different cases totally unrelated
  8    to this, but because of that, I'm a little gun-shy when
  9    people start getting very ardent and ugly with me.                     And
 10    after that podcast, I become concerned of being accused
 11    of being a "Deep State" liar.                   And I got to say, there's
 12    no such thing as a "Deep State" prosecutor.                   Okay.    I'm
 13    sure there are dirty prosecutors that don't do their
 14    job, but my concern for my physical safety is I don't
 15    have protection from the federal government anymore.                         So
 16    if some moron reads that stuff and believes it and
 17    decides, like in Pizzagate, he's going to come shoot up
 18    my house, all I've got is me.                   So I -- I don't know
 19    who's behind that.         I don't know who's done that.              I
 20    just ignore it.        And I've -- I've stopped talking about
 21    any case -- well, that's not true -- about this case at
 22    all.
 23           Q.     Let me ask you.            You were asked earlier about
 24    some of your political opinions and opinions about the
 25    president.      Do your -- any of your political

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  1    opinions have -- did they have any impact on your
  2    investigation in the Seth Rich case?
  3           A.     Of course not.
  4           Q.     Or on the opinions that you've expressed in
  5    Exhibit 1 and Exhibit 2 or your affidavit?
  6           A.     Absolutely not.            You got to understand,
  7    Counsel, you -- you -- when -- when you're a federal
  8    prosecutor -- and -- and I believe a lot of DAs are like
  9    this too, except maybe the elected ones, you -- you --
 10    all you want to do is vindicate a murder, and you've got
 11    to be fair to whoever the defendant turns out to be.
 12    And that's a juggling act.                It's hard.          Because
 13    sometimes you don't feel like you should be fair.                         What
 14    they've done is despicable, but you have to.                        That's the
 15    oath.    It doesn't matter who your boss is.                      I --
 16    literally, I've worked -- I've worked for Reagan, Bush
 17    1, Bush 2.      It never mattered.                In fact, the first
 18    Democrat I ever worked for was -- I think Bill Clinton,
 19    and I learned real quick the Democrats make you write
 20    more memos.       And, you know, I -- I was excited, Oh, it's
 21    the first time I ever worked for a Democrat.                        Just more
 22    memos.      That's the only difference.                     It -- it doesn't
 23    matter who the boss is as long as it's that justice
 24    thing.      I -- I've never had a Republican challenge my
 25    worth as -- as a prosecutor or my motivation ever, but

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  1    it's different now.
  2           Q.     Did you aggressively investigate the Seth
  3    Rich murder?
  4           A.     Yes, I did.
  5           Q.     Did you use all the tools available to you to
  6    try to find who killed him?
  7           A.     I tried to.        I tried to.
  8           Q.     You did your very best?
  9           A.     Yes, I did.        But it's sitting right here on
 10    my shoulder.       The ones -- the cases where you don't
 11    close it or if you lose a trial and you shouldn't have
 12    lost, it's -- it stays right on your shoulder and it
 13    stays with you and it makes you feel horrible.
 14           Q.     And you feel a great obligation as a
 15    prosecutor to try to achieve justice for Seth Rich and
 16    for his family; is that right?
 17           A.     Absolutely.
 18           Q.     And you still do today even though you're
 19    retired?
 20           A.     I know.     I still do.             Yeah.
 21           Q.     Let me ask you one more thing -- one more
 22    kind of clean-up thing.              You brought some documents with
 23    you to your deposition --
 24           A.     I did.
 25           Q.     -- and I'd -- I'd like -- and I'd like to

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  1    just mark them all, I guess excluding the affidavit that
  2    we've already pulled out, and just mark them as an
  3    exhibit, if that's okay.
  4           A.     It's fine with me.              The court reporter just
  5    gave you a dirty look, but it's fine.                       She didn't.   I'm
  6    lying.
  7                  You want all of them marked?
  8           Q.     Just as one exhibit.                Just all of the pages,
  9    yes.    Except for the affidavit, which I think we've
 10    pulled out.
 11           A.     Oh, okay.      She'll do it.
 12                  (Defendants' Exhibit No. 7 was marked for
 13    identification.)
 14    BY MR. HARPER:
 15           Q.     I think this would be Exhibit 7.                  Ms. Sines,
 16    is Exhibit 7 before you?
 17           A.     No, it -- yes.
 18           Q.     And is Exhibit 7 a copy of documents you
 19    brought with you today, absent the affidavit that we
 20    already talked about, in response to the subpoena that
 21    you received from Mr. Butowsky's counsel?
 22           A.     Yes.
 23           Q.     And let me just walk through this.                  The first
 24    page -- an -- an order in a case between Mr. Butowsky
 25    and Mr. Gottlieb?

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  1           A.     Yes.
  2           Q.     Okay.    And then if you turn -- I guess to the
  3    third page -- it starts to be a letter dated March 2nd?
  4           A.     Yes.
  5           Q.     To Mr. Clevenger from Timothy J. Shea and
  6    Daniel Van Horn; is that right?
  7           A.     Yes.
  8           Q.     Okay.    And if you turn a couple more pages,
  9    there is a letter from Mr. Clevenger dated
 10    February 17th --
 11           A.     Yes.
 12           Q.     -- is that right?
 13           A.     Yes.
 14           Q.     And then after that, there are several pages
 15    of e-mails; is that right?
 16           A.     Yes.
 17           Q.     E-mails that are between you and -- and other
 18    people; right?
 19           A.     The Rich family.
 20           Q.     And those are true copies of communications
 21    you had with the Rich family?
 22           A.     Yes.
 23                  MR. HARPER:        Let me -- let me take a short
 24            break.     Maybe two minutes.                 And then I'll come
 25            back, and I should be finished, if that's all

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  1            right.
  2                  THE WITNESS:         You promise?
  3                  MR. HARPER:        I promise.
  4                  THE WITNESS:         I'm getting older by the
  5            minute.
  6                  MR. HARPER:        So am I.
  7                  THE WITNESS:         Okay.
  8                  THE VIDEOGRAPHER:             Time is 1:10, and we're
  9            off the record.
 10                  (Recess had from 1:10 p.m. to 1:11 p.m.)
 11                  THE VIDEOGRAPHER:             Time is 1:11, and we're
 12            back on the record.
 13    BY MR. HARPER:
 14           Q.     Ms. Sines, I want to thank you again for
 15    coming in today in this difficult time.                     And I also want
 16    to thank you for your service as a prosecutor and as an
 17    assistant U.S. attorney.               I want to thank you for your
 18    service to the people of the United States.
 19           A.     Thank you.
 20                  MR. HARPER:        And with that -- and with that,
 21            I'll pass the witness.
 22                             REDIRECT EXAMINATION
 23    BY MR. CLEVENGER:
 24           Q.     I do have a few follow-up questions, Ms.
 25    Sines.      We went -- Mr. Harper went through the affidavit

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  1    that you submitted, and I'd like to look at that
  2    briefly.      I forget what the exhibit number that is.
  3           A.     That's okay.         We'll find it.
  4           Q.     But --
  5           A.     Wait a -- wait a second.
  6           Q.     Okay.
  7           A.     Thank you.       It's Exhibit Number 6, Counsel.
  8           Q.     Okay.    Thank you.           Very good.
  9           A.     You're welcome.
 10           Q.     There are several paragraphs where you say
 11    that you are aware of no evidence.                          So, for example,
 12    paragraphs 12, 13, 14, 15.                Paragraph 12:           I'm aware of
 13    no evidence of any contact between Seth or Aaron Rich
 14    and WikiLeaks.
 15                  But, at the same time, you can't tell us
 16    whether you -- you ever attempted to speak with Julian
 17    Assange or anybody with WikiLeaks; correct?
 18           A.     The Department of Justice decided that I am
 19    not permitted to tell you how it is that I am aware of
 20    no contact between Seth or Aaron Rich and WikiLeaks.
 21           Q.     Well --
 22           A.     The most they will let me say is that I
 23    thoroughly reviewed evidence, but I'm not allowed to say
 24    what all that evidence was.
 25           Q.     Well, in this case, I mean, you can't prove a

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  1    negative, can you?         I mean --
  2           A.     I don't know what that means, sir.
  3           Q.     Is it -- well, I mean, there could be
  4    evidence out there that you're just not yet aware of; is
  5    that correct?
  6           A.     That's always the case.                  Yes.   That's
  7    correct.
  8           Q.     And so in the next paragraph:                   I'm aware of
  9    no evidence that Seth Rich ever improperly downloaded
 10    information from DNC.
 11                  You know -- and you can't say with any
 12    certainty that the evidence doesn't exist, can you?
 13           A.     I can say what it didn't exist on that was
 14    examined, but, unfortunately, I'm not allowed to tell
 15    you what that is.
 16           Q.     Okay.    Paragraph 14:              I'm aware of no
 17    evidence that Aaron Rich was ever involved in the
 18    transmission of stolen information from the DNC to
 19    WikiLeaks.
 20                  You -- again, you can't tell us whether
 21    you've -- in fact, can you tell us whether Robert
 22    Mueller ever tried to make contact with WikiLeaks?
 23           A.     I'm not involved in his investigation.                   I
 24    can't tell you what he did.                 I have no idea.
 25           Q.     Well, are you aware of Mr. Mueller's

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  1    acknowledgement or his admission that he never even had
  2    his agents examine the DNC's e-mail servers?
  3           A.     No.    I'm not aware of that at all.
  4           Q.     So you're not aware of the fact that
  5    Mr. Mueller has admitted that he relied exclusively on a
  6    redacted report by CrowdStrike?
  7           A.     No.    I'm not aware of that at all.
  8           Q.     Can you say whether you took any
  9    investigative steps beyond what Mr. Mueller did in that
 10    regard?
 11           A.     No.    I can't say what he did, and I'm not
 12    allowed to say what I did.
 13           Q.     Okay.    You said that Aaron Rich fully
 14    cooperated earlier.          Would -- would that statement
 15    change if you found out that Mr. Rich had withheld
 16    certain evidence from you?
 17           A.     Yes.
 18           Q.     And I believe you testified earlier, and
 19    correct me if I'm wrong, that -- that Mr. Butowsky said
 20    on television that he instigated Rod Wheeler's
 21    conspiracy theory.         Was that what you said?
 22           A.     I said that he instigated Rod Wheeler's -- or
 23    at least what I meant to say -- going on Fox and doing
 24    the story because the White House wanted him to go on
 25    it.    That's what Mr. Butowsky said, but then Mr.

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  1    Butowsky -- I want to say it was on CNN -- he said, Oh,
  2    no.    No.    No.   That's a code name for Detective
  3    DellaCamera who wanted to be a whistleblower.                      I
  4    personally know all of that is false.                       I heard your
  5    client say it.        I was stunned.              However, I -- that's
  6    what I meant, was it was Mr. Butowsky who was telling
  7    Rod Wheeler, you know, The White House wants you to do
  8    this story; it's a go; of course, it's all on you,
  9    but -- that's what I was referring to.
 10           Q.     Okay.
 11           A.     That's based on e-mails your client sent to
 12    Mr. Wheeler that I saw.
 13           Q.     But you don't know whether my client was
 14    telling Mr. Wheeler how to conduct his investigation, do
 15    you?
 16           A.     I know Mr. Butowsky was saying things to Seth
 17    Rich's parents.        And I knew he was betraying them.                   I
 18    watched your client very carefully when he was on CNN.
 19           Q.     Let's get specific about that.                  How do you --
 20    how do you -- how do you know that -- what my client
 21    said to the Riches?
 22           A.     I've seen -- I'm not allowed to answer that.
 23    I'm sorry.
 24           Q.     Well, I'm sorry.            You've already opened the
 25    door to that.

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  1           A.     I may have, but I'm not allowed to tell you
  2    what I did during my investigation, so I'm not allowed
  3    to answer that.        Sorry.
  4           Q.     Well, you just testified a minute ago that my
  5    client was somehow exploiting the Riches?
  6           A.     I did.
  7           Q.     Is that -- is that your testimony?
  8           A.     Yes.
  9           Q.     Okay.    Well, then give it --
 10           A.     Well, you've --
 11           Q.     Give specific examples.
 12           A.     You've already seen on -- on television, you
 13    know.    Your client did a press conference with the
 14    Riches vowing he was going to do all of this stuff, and
 15    then after he got exposed by -- I guess it's Rod
 16    Wheeler, the Riches essentially fired your client and
 17    said, You don't have our permission, and stop speaking
 18    for us.     I mean, that's -- that's what I call using very
 19    vulnerable people.
 20           Q.     Well, let's -- let's get specific here.                 When
 21    was the day that my client held his press conference?
 22           A.     I don't know.          He did it with the Rich family
 23    before the Fox News story.                I -- I don't know.
 24           Q.     How certain are you -- are you 100 percent
 25    certain that that took place?

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  1           A.     No, I'm not.         I -- you know what?
  2           Q.     Okay.
  3           A.     I did see him on TV talking about helping the
  4    Rich family and paying for Mr. -- I don't know if he
  5    said he was paying for Mr. Wheeler, but saying he was
  6    helping them to investigate their son's murder.
  7           Q.     Okay.    So how else do you think my client
  8    exploited the Riches?
  9           A.     I don't -- I think he had his own agenda.
 10           Q.     Okay.    Well --
 11           A.     I think he was working on this Fox News story
 12    and that's -- that's what he did.                      He certainly didn't
 13    provide any information from any independent
 14    investigation to the prosecution team.
 15           Q.     That was Mr. Wheeler's job, wasn't it?
 16           A.     Not if your guy was the one paying the bucks
 17    for it.     No.
 18           Q.     Well, if my client testifies and the records
 19    show that he agreed to pay for Mr. Wheeler, but he was
 20    not directing the investigation, does that affect your
 21    answer?
 22           A.     No, sir.     Not at all.
 23           Q.     So you don't care what the evidence says;
 24    you've got your mind made up?
 25           A.     No.   I saw the evidence.                     I feel the same way

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  1    about Mr. Wheeler.         Your guy --
  2           Q.     What evidence --
  3           A.     -- exposed himself on CNN.                    That's -- that's
  4    my evidence.        That's -- to me that was cruel, dishonest,
  5    and, frankly, I just wish I could have cross-examined
  6    him, but I wasn't there.
  7           Q.     Well, frankly, I wish I could get you to
  8    answer all of my questions, but --
  9           A.     I've answered your question.                   I -- I think
 10    your client was dishonest, and I think he used a very
 11    bruised, crushed family, and I think that's incredibly
 12    mean.    That's what I believe.                 And I believe that --
 13           Q.     Okay.    And I'm --
 14           A.     -- based on your client's conduct.
 15           Q.     Okay.    And I'm asking you what specific
 16    conduct?
 17           A.     Everything he said on CNN.                    Everything.
 18           Q.     Okay.    And do you recall what it was that he
 19    said on CNN?
 20           A.     No.    I'd have to get a transcript of it now.
 21    It was a long time ago.
 22           Q.     Okay.    So you're just kind of winging it
 23    here, aren't you?         You're not sure?
 24           A.     No, sir.     I'm positive.               I firmly believe
 25    everything I just said about your client based on his

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  1    television performance on CNN.                    I'm a witness here.
  2           Q.     Well, you just testified --
  3           A.     I'm not a plaintiff.                I'm not an attorney.
  4    I'm just a witness.          So --
  5           Q.     I understand that, but you --
  6           A.     -- I -- I don't prepare to testify if I'm
  7    telling the truth.         I'm not watching --
  8           Q.     But you --
  9           A.     -- that stuff again.                It was too abhorrent
 10    when I saw it live.
 11           Q.     Okay.    You just testified that my client
 12    appeared at the press conference with the Riches?
 13           A.     I could have that one wrong.                  He might have
 14    just done -- there might have just been a press release.
 15    I thought --
 16           Q.     Okay.
 17           A.     -- I saw him with them, but I could have been
 18    wrong.      That's a long time ago --
 19           Q.     Okay.
 20           A.     -- but I'm not wrong about what I saw on CNN.
 21           Q.     If my client testified that he never drafted
 22    a press release, made any public statements for the
 23    Riches, would you have any reason to contradict that?
 24           A.     No.
 25           Q.     How did you know it was a foreign person who

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  1    tried to hack into Seth Rich's Gmail account?
  2           A.     I'm not allowed to answer that.
  3           Q.     Well, are you aware that you can use a remote
  4    server in another country to make it look like you're
  5    acting from another country?
  6           A.     I'm not allowed to answer that.
  7           Q.     I'm asking you if you are aware of that
  8    generally?      Are you aware that --
  9           A.     Yes.    Yes.     I am aware of that.
 10           Q.     But you can't tell us how you know for sure
 11    that this was a foreign person who hacked in?
 12           A.     No.    I'm not allowed to tell you that.                 I
 13    can't even tell you who it is.                    I wish I could.
 14           Q.     I want to look at page 9 of some of the
 15    e-mails.
 16           A.     Which exhibit?
 17           Q.     I'm not sure what -- how that was numbered.
 18    It was the documents that you produced.                      It was the
 19    ninth page in the -- in the PDF file that I was sent.
 20                  (Off-the-record discussion.)
 21                  THE WITNESS:         There's a series of e-mails
 22            between me and the Rich family and between me and
 23            Michael Isikoff and Andy Kroll.                     So which ones?
 24    BY MR. CLEVENGER:
 25           Q.     This would be a Friday, July 13, 2018, e-mail

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  1    from you to Mary Ann and Joel Rich.
  2           A.     Okay.
  3           Q.     And Aaron Rich.
  4           A.     I've got it.
  5           Q.     Good folks:        With the indictment of numerous
  6    Russian GRU intelligence agents for the 2016 DNC hack, I
  7    am hoping this will make ugly people stop falsely
  8    accusing Seth and will also make them stop harassing
  9    you.
 10                  Is that correct?
 11           A.     Yes.
 12           Q.     That's what you wrote?
 13           A.     Yes.
 14           Q.     Were you aware that all of those indictments
 15    were dismissed this week by DOJ?
 16           A.     Sure am.
 17           Q.     So --
 18           A.     I'm aware of all the pardons that have been
 19    issued.     I'm aware of all of the cases that have been
 20    either pardoned or dismissed by the Department of
 21    Justice.      I'm very well aware.
 22           Q.     What -- okay.          What -- what are you talking
 23    about?
 24           A.     I'm talking about cases that were indicted
 25    and didn't go to trial and then got dismissed by the

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  1    Department of Justice.
  2           Q.     Okay.    So with reference to this case, and --
  3    are you aware of the fact that -- that the case was
  4    dismissed because there wasn't enough evidence to even
  5    prosecute it?
  6           A.     No.    I disagree 100 percent with you saying
  7    that.
  8           Q.     Okay.
  9           A.     I don't believe that's why those cases were
 10    dismissed.
 11           Q.     So you think -- you're arguing that they were
 12    dismissed for political reasons?
 13           A.     I don't -- I can't say -- yeah, I can.                    Yes,
 14    I am saying that.         That is my feeling.
 15           Q.     You --
 16           A.     Yes.
 17           Q.     Okay.    Well, what do you know about those
 18    cases?
 19           A.     Same thing everyone knows.                    I've read the
 20    indictments.        It's all I'm allowed to know about those
 21    cases.      I know a grand jury indicted them.
 22           Q.     And so you're just going on faith here that,
 23    if they were indicted, they must have been -- there must
 24    have been enough evidence?
 25           A.     No.    I read the Mueller Report as well.

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  1           Q.     So you're a believer in the Mueller Report;
  2    is that fair to say?
  3           A.     I believe the evidence that I saw in the
  4    Mueller Report.        That's very fair to say.
  5           Q.     Well, are you aware significant parts of that
  6    report have been discredited?
  7           A.     By whom, Mr. Clevenger?
  8           Q.     Well, for example, Mr. Mueller's own
  9    admission that he never even examined the DNC's e-mail
 10    servers.
 11           A.     That doesn't discredit his report and what he
 12    found.
 13           Q.     Well, you're going to believe that report,
 14    isn't it true, because you want to believe that report?
 15           A.     No, sir.     I am a prosecutor with 35 years of
 16    prosecutorial experience.                I believe the report because
 17    I read it.      The minutiae in it was enough to make anyone
 18    vomit.      If anything, there was too much evidence in it.
 19    It took me forever to read that.                      I believed --
 20           Q.     Okay.
 21           A.     -- the report because it was thorough.                   And I
 22    believed the report because I know Bob Mueller.                       I know
 23    how hard he works.         I know he makes you come to meetings
 24    at 7:00 a.m.       I know how much integrity that man has.
 25    That's why I believe the Mueller Report.

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  1           Q.     And so it doesn't matter whether he admits
  2    that he relied exclusively on a third-party contractor's
  3    redacted report?         You still think that's a credible
  4    document?
  5           A.     I still think the indictments of the GRU
  6    intelligent agents for the 2016 DNC hack should not have
  7    been dismissed.
  8           Q.     And you don't say that based on any kind of
  9    inside knowledge, do you?
 10           A.     Just my experience, which may not mean much
 11    to some people, but it means a lot to me.
 12           Q.     Well, when you say your experience -- but
 13    you're relying entirely on things that are in the public
 14    record; is that correct?
 15           A.     I -- I can't ignore -- I -- I can't answer
 16    that.
 17           Q.     So are you relying on any kind of insider
 18    knowledge that you have?
 19           A.     I can't answer that.
 20           Q.     Well, I want to go -- the -- I really want
 21    the -- the area that I was interested in -- going
 22    specifically to who was responsible for these leaks.                         If
 23    Bob Mueller admits that he was a -- relying entirely on
 24    a redacted third-party report, does that not shed
 25    some -- cause some doubt about the veracity of the

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  1    report?
  2                  MR. HARPER:        Objection to form.
  3                  THE WITNESS:         Not to me, it doesn't, sir,
  4            but you'd have to talk to Mr. Mueller about that.
  5            His report isn't just based on one piece of
  6            evidence, as you know.
  7    BY MR. CLEVENGER:
  8           Q.     I'm not -- I'm not concerned about all of the
  9    other elements of his report.                   I'm concerned about the
 10    e-mail leak.       That's why I'm asking specifically
 11    about --
 12           A.     I'm not trying to argue with you.                    I told you
 13    I believe the report.            I believe there is sufficient
 14    evidence in the report, and I believe there was
 15    sufficient evidence for the intelligence -- Russian
 16    intelligence agents to be indicted.                         So did the grand
 17    jury.    And I -- I really have nothing else to say about
 18    that.    I -- I wasn't there.
 19           Q.     Well, in your 35 years as a prosecutor, have
 20    you ever heard of another case where law enforcement,
 21    whether FBI or local, was investigating a
 22    computer-related crime that they never personally
 23    examined the evidence; they just relied on a third-party
 24    contractor and accepted a redacted report?
 25                  MR. HARPER:        Objection to form.

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  1                  THE WITNESS:         I don't have -- I don't have
  2            the experience to answer that question.                    As you
  3            pointed out earlier, sir, I'm -- you know, I'm
  4            not an expert in GRU intelligence work.
  5    BY MR. CLEVENGER:
  6           Q.     I'm not asking you about GRU intelligence
  7    work.    I'm -- I'm asking about any crime that involves a
  8    computer or electronic evidence.                      With 35 years as a
  9    prosecutor, have you ever heard of another case where
 10    the prosecution and/or law enforcement relied
 11    exclusively on a third-party report?
 12           A.     I can't answer that.
 13                  MR. HARPER:        Objection to form.
 14                  THE WITNESS:         I don't know.            I don't know.
 15    BY MR. CLEVENGER:
 16           Q.     Well, I guess that's my question.                  Do you
 17    know of another case like that?
 18           A.     I don't know enough about computer-fraud
 19    cases to answer your question.                    I do not have the
 20    expertise.
 21                  MR. CLEVENGER:           No further questions.
 22                  THE VIDEOGRAPHER:             Time is --
 23                             RECROSS-EXAMINATION
 24    BY MR. HARPER:
 25           Q.     Ms. Sines, let me ask you one thing.                  There

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  1    were some reporting that the Guccifer indictments --
  2    in -- in those cases that the lawyers for the -- for the
  3    defendants, were seeking some form of discovery which
  4    might have revealed U.S. intelligence agency methods.
  5    Had you heard anything like that?
  6           A.     I -- I -- I've heard it, but I don't know if
  7    it's true or not, which -- which would be a reason to
  8    dismiss a case to keep the intelligence source's
  9    secrets, you know, not put other lives in danger.                     I --
 10    but I don't know.
 11           Q.     Did you -- you don't know why those
 12    indictments were dismissed?
 13           A.     Of course I don't.
 14           Q.     And, again, in talking about your
 15    investigation into the murder of Seth Rich, you -- you
 16    tried to make use of every available tool to conduct
 17    that investigation and to try to solve that murder; is
 18    that right?
 19           A.     Yes.
 20                  MR. HARPER:        I don't have anything further.
 21            Thank you, again, so much for your time today.
 22                  THE WITNESS:         Thank you.
 23                       FURTHER REDIRECT EXAMINATION
 24    BY MR. CLEVENGER:
 25           Q.     I do -- I do have one -- I do have one

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  1    follow-up on -- based on that last statement.                     When
  2    you're saying you used every available tool, you're
  3    still not able to tell us, though, whether you attempted
  4    to contact WikiLeaks or anybody involved with WikiLeaks;
  5    is that correct?
  6           A.     I'm not allowed to tell you anything about
  7    what I actually did during my investigation while I was
  8    employed by the Department of Justice.
  9                  MR. CLEVENGER:           Okay.        Thank you.   And thank
 10            you for your time.
 11                  THE WITNESS:         Thank you.
 12                  THE VIDEOGRAPHER:             Time is --
 13                  MR. HARPER:        Thank you, Ms. Sines.
 14                  THE VIDEOGRAPHER:             Time is 1:33, and this
 15            ends today's deposition.
 16                  THE COURT REPORTER:               Mr. Clevenger, would
 17            you like to order the transcript?
 18                  MR. CLEVENGER:           Yes, please.
 19                  THE COURT REPORTER:               Mr. Harper, would you
 20            like a copy?
 21                  MR. HARPER:        Yes.
 22                  (Deposition concluded at 1:35 p.m.)
 23

 24

 25

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  1                             CERTIFICATE OF OATH
  2

  3    STATE OF FLORIDA          )
  4    COUNTY OF FLAGLER         )
  5

  6                   I, Mykel K. Miller, Registered Professional
  7    Reporter, Florida Professional Reporter, and Notary
  8    Public, State of Florida, certify that the
  9    aforementioned witness personally appeared before me and
 10    was duly sworn on this date:                  March 20, 2020.
 11

 12                   WITNESS my hand and official seal:
 13    March 31, 2020.
 14

 15

 16

 17
                                          ________________________________
 18                                       Mykel K. Miller, RPR, FPR
                                          Registered Professional Reporter
 19                                       Florida Professional Reporter
                                          Notary Public - State of FL
 20                                       Commission No.: GG261196
                                          Expires: 09-23-2022
 21
                                          Digital Signature Authenticated
 22                                       by Symantec
 23

 24

 25

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  1                          CERTIFICATE OF REPORTER
  2
       STATE OF FLORIDA         )
  3
       COUNTY OF FLAGLER )
  4

  5                   I, Mykel K. Miller, Registered Professional
  6    Reporter, Florida Professional Reporter, certify that I
  7    was authorized to and did stenographically report the
  8    foregoing proceedings; that a review of the transcript
  9    was requested, and that the transcript is a true and
 10    complete record of my stenographic notes.
 11                   I further certify that I am not a relative,
 12    employee, attorney, or counsel of any of the parties,
 13    nor am I a relative or employee of any of the parties'
 14    attorney or counsel connected with the action, nor am I
 15    financially interested in the action.
 16                   DATED March 31, 2020, in Flagler County,
 17    Florida.
 18

 19

 20
                                          ________________________________
 21                                       Mykel K. Miller, RPR, FPR
                                          Registered Professional Reporter
 22                                       Florida Professional Reporter
 23                                       Digital Signature Authenticated
                                          by Symantec
 24

 25

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  1                  IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
  2                           SHERMAN DIVISION
  3

  4
       EDWARD BUTOWSKY,
  5
             Plaintiff,
  6
       -vs-                                        CASE NO.: 4:18-cv-00442-ALM
  7
       DAVID FOKENFLIK, ET AL.,
  8
           Defendants.
  9    __________________________/
 10
       IN RE:     Deposition of:          DEBORAH SINES
 11
       Date Taken: March 20, 2020
 12
       Date Sent to Attorney:
 13

 14
                  The referenced transcript has been completed
 15    and awaits reading and signing.
 16               Please have your witness read over your copy
       of the transcript and note any corrections on the
 17    enclosed Errata Sheet, and forward only the Errata Sheet
       to Southern Reporting Company at 747 South Ridgewood
 18    Avenue, Suite 107, Daytona Beach, Florida, 32114; or
       please have your witness contact Southern Reporting
 19    Company at 386-257-3663 to make arrangements to read
       their transcript.
 20
                  Please complete by the time of trial or
 21    within 30 days.
 22               The errata sheet, once received, will be
       forwarded to all ordering parties as listed below.
 23    Thank you.
 24    Cc:    Ty Clevenger, Esquire; David Harper, Esquire
 25
               **All ordering parties may not be listed**

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                               Video Deposition of Deborah Sines                    130

  1                                   ERRATA SHEET
  2    IN RE:     Edward Butowsky vs. David Fokenflik, et al.
  3    Deposition of DEBORAH SINES, taken 03/20/2020
  4

  5    Page     Line                          Change/Reason
  6    ____     ____       _____________________________________
  7    ____     ____       _____________________________________
  8    ____     ____       _____________________________________
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 12    ____     ____       _____________________________________
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 15    ____     ____       _____________________________________
 16    ____     ____       _____________________________________
 17    ____     ____       _____________________________________
 18    ____     ____       _____________________________________
 19    ____     ____       _____________________________________
 20    ____     ____       _____________________________________
 21    ____     ____       _____________________________________
 22    Under penalties of perjury, I declare that I have read
       the foregoing document and that the facts stated in it
 23    are true.
 24

 25    _____________       _____________________________________
       Date                      Signature

                      Southern Reporting Company (386)257-3663
